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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK

                                                                    1:18-cv-02554-AMD-PK
    TODD C. BANK, Individually and on
    Behalf of All Others Similarly Situated,

                                            Plaintiff,

                    -against-

    ICOT HOLDINGS, LLC, and
    ICOT HEARING SYSTEMS, LLC,

                                            Defendants.


                                DECLARATION OF TODD C. BANK

          1.      I am the plaintiff in the above-captioned matter, and submit this declaration in support

   of my motion for class certification and for the appointment of Daniel A. Osborn as class counsel.

          2.      I have personal knowledge of the facts that gave rise to my individual claims. In

   addition, I am knowledgeable about the factual and legal issues pertaining to this case.

          3.      My interests do not conflict with other class members’ interests, and I am committed

   to vigorously prosecuting this case and representing the proposed class.

          4.      I understand that, if the class were certified, I would have a fiduciary duty to the other

   class members, which would require me to place their interests above the interests of Mr. Osborn

   and/or myself whenever I believe that a conflict exists between the interests of the class members and

   Mr. Osborn and/or myself.

          5.      I will not accept any payment for serving as a representative party on behalf of any

   class beyond my pro rata share of any recovery, except as ordered or approved by the Court.

          6.      I am financially independent from Mr. Osborn.

          7.      I do not have any interest in, and I disclaim any interest in, any legal fees that Mr.
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   Osborn might seek or receive.

             8.      A copy of portions of the transcript of deposition of Jacob Zellweger, dated August

   8, 2019, is annexed hereto as Exhibit “A.”

             9.      A copy of my Response to Defendants’ First Set of Interrogatories is annexed hereto

   as Exhibit “B.”

             10.     A copy of Defendants’ Responses and Objections to Plaintiff’s First Set of

   Interrogatories is annexed hereto as Exhibit “C.”

             11.     A copy of ICOT Hearing Systems, LLC’s Responses and Objections to Plaintiff’s First

   Set of Requests for Admission is annexed hereto as Exhibit “D.”

             12.     A copy of ICOT Hearing’s Responses and Objections to Plaintiff’s Amended First Set

   of Interrogatories is annexed hereto as Exhibit “E.”

             13.     A copy of the subpoena for documents that I served upon Prospects DM, Inc., is

   annexed hereto as Exhibit “F.”

             14.     A copy of a redacted excerpt of the document that Prospects DM, Inc., served upon

   me in response to the subpoena described in paragraph “7” is annexed hereto as Exhibit G.”

             15.     I incorporate, by reference, all factual assertions in my accompanying memorandum

   of law.

             Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the foregoing is

   true and correct.

                                                                    s/ Todd C Bank
                                                                  Todd C. Bank
                                                                  Executed on January 29, 2021
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                             EXHIBIT “A”

                       Portions of the Transcript of
                       Deposition of Jacob Zellweger

                                August 8, 2019
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          TODD C. BANK vs ICOT HOLDINGS, LLC
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     ·1· · · · · · · UNITED STATES DISTRICT COURT
     · · · · · · · · EASTERN DISTRICT OF NEW YORK
     ·2

     ·3
     · · ·TODD C. BANK, et al,
     ·4
     · · · · Plaintiff,
     ·5

     ·6

     ·7

     ·8

     ·9· ·vs.· · · · · · · · · · · · · CIVIL ACTION NUMBER
     · · · · · · · · · · · · · · · · · 1:18-CV-02554-AMD-PK
     10· · · · · · · · · · · · · · · · · · (E.D.N.Y.)

     11

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     13
     · · ·ICOT HOLDINGS, LLC,
     14· ·and ICOT HEARING SYSTEMS, LLC,
     · · ·d/b/a LISTENCLEAR,
     15· · · Defendant.

     16· ·---------------------------/

     17· · · · · · The deposition of JACOB ZELLWEGER, a

     18· ·witness in the above-entitled cause, taken

     19· ·pursuant to Notice and agreement, before Kyle J.

     20· ·Saniga, Certified Court Reporter and Notary

     21· ·Public, at the Offices of Coastal Court

     22· ·Reporting & Video Inc., The Altmayer Building,

     23· ·100 Bull Street, Suite 200, Savannah, Georgia,

     24· ·on the 8th day of August 2019, commencing at or

     25· ·about the hour of 10:11 a.m.


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    ·1· · · ·A· · No, I don't -- I mean I've looked up so
    ·2· ·many I mean I don't remember.
    ·3· · · ·Q· · Okay.· Just one additional instruction
    ·4· ·I should have mentioned earlier and you're doing
    ·5· ·fine in terms of the instructions but just keep
    ·6· ·in mind because of the court reporter just make
    ·7· ·sure you really know that I'm finished with each
    ·8· ·question before you answer.· Just -- I mean
    ·9· ·you're doing fine but I just want to make sure
    10· ·that there's no jumping in because the court
    11· ·reporter will be -- will find it very difficult.
    12· · · ·A· · Sure.
    13· · · ·Q· · I assume.· Are you currently employed
    14· ·by ListenClear?
    15· · · ·A· · Yes.
    16· · · ·Q· · And what is the corporate entity or
    17· ·entities that employ you?
    18· · · ·A· · I mean ICOT and ListenClear.
    19· · · ·Q· · Okay.· When you say ICOT what's the
    20· ·full name?
    21· · · ·A· · Hearing Systems.
    22· · · ·Q· · Okay.· And what about Holding Systems?
    23· · · ·A· · I don't really know much about that
    24· ·stuff.· I mean I just know ListenClear is a
    25· ·d/b/a of I think ICOT Hearing Systems.

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    ·1· · · ·Q· · Do you receive paychecks?
    ·2· · · ·A· · Yes.
    ·3· · · ·Q· · And who is the drafter of the
    ·4· ·paychecks?
    ·5· · · ·A· · I have no idea.· I've never even
    ·6· ·looked.· I get it direct deposited.
    ·7· · · ·Q· · Okay.· How long have you been employed
    ·8· ·by can I say ListenClear to cover everything?
    ·9· · · ·A· · Yeah, that's fine.· April of 2016.
    10· · · ·Q· · And have you changed your job position
    11· ·since that time?
    12· · · ·A· · Yeah.
    13· · · ·Q· · How did you start out?
    14· · · ·A· · Just as a sales rep.
    15· · · ·Q· · And how long did you hold that
    16· ·position?
    17· · · ·A· · Two months.
    18· · · ·Q· · And then what happened after that?
    19· · · ·A· · I moved on.· They started a collections
    20· ·department and so I ran that.
    21· · · ·Q· · For how long?
    22· · · ·A· · Until -- from July of '17 all the way
    23· ·until the previous guy left my position, so it'd
    24· ·been about March of '18.
    25· · · ·Q· · And what was the change after March of

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    ·1· ·'18?
    ·2· · · ·A· · I'm in charge of sales and marketing
    ·3· ·now.
    ·4· · · ·Q· · What's your -- do you have an official
    ·5· ·title?
    ·6· · · ·A· · Director of Sales and Marketing.
    ·7· · · ·Q· · You mentioned a company called
    ·8· ·Prospects, is that correct, earlier?
    ·9· · · ·A· · Yeah.
    10· · · ·Q· · And is that the same as Prospects DM?
    11· · · ·A· · Correct.
    12· · · ·Q· · And if I refer to it as Prospects is
    13· ·that okay?
    14· · · ·A· · Yeah, that's fine.
    15· · · ·Q· · When did you first hear of Prospects?
    16· · · ·A· · Probably -- I mean first heard of them
    17· ·probably back in 2017 or whatever.
    18· · · ·Q· · How did you hear of them?
    19· · · ·A· · Just I knew they were one of our big
    20· ·vendors we used to transfer calls in.
    21· · · ·Q· · So were they used before you became the
    22· ·Director of Marketing?
    23· · · ·A· · Yes.
    24· · · ·Q· · And were they used before you became
    25· ·employed all together as ListenClear?

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    ·1· · · ·A· · I don't believe so.· I think it was
    ·2· ·after.
    ·3· · · ·Q· · Do you know who at ListenClear first
    ·4· ·dealt with Prospects?
    ·5· · · ·A· · Blair, Justin.
    ·6· · · ·Q· · Okay.· And what was his position at the
    ·7· ·time?
    ·8· · · ·A· · Director of Marketing.
    ·9· · · ·Q· · Do you know where he's located today?
    10· · · ·A· · The last I knew -- I'm not -- he's with
    11· ·another company.· I mean I don't know if he's
    12· ·still with them or not.
    13· · · ·Q· · Do you know --
    14· · · ·A· · I don't know.
    15· · · ·Q· · I'm sorry.· Do you know what company
    16· ·that is?
    17· · · ·A· · I don't know their official name but
    18· ·they used to be lift -- some lift chair company.
    19· · · ·Q· · Lift chair?
    20· · · ·A· · Yeah.
    21· · · ·Q· · Like for like a handicap like a lift
    22· ·chair up the stairs?
    23· · · ·A· · Yeah.· No, no, no, I think like lift
    24· ·chairs like a Lazy Boy for --
    25· · · ·Q· · Okay.· And is that located in Savannah?

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  ·1· ·don't know if it was Georgia or where it was.
  ·2· · · ·Q· · But that's not the Charvat case?
  ·3· · · ·A· · No, I didn't really do -- even hear
  ·4· ·about that until it was all pretty much said and
  ·5· ·done.
  ·6· · · ·Q· · How did it come to your attention this
  ·7· ·-- the existence of this Performance Media
  ·8· ·Strategies?
  ·9· · · ·A· · Just when we were trying to get around
  10· ·how the relationship of Prospects started.
  11· · · ·Q· · When did ListenClear first utilize
  12· ·Prospects services?
  13· · · ·A· · It was before my time.· I wouldn't
  14· ·know.· It'd just be a guess.
  15· · · ·Q· · Can you approximate?
  16· · · ·A· · Sure.
  17· · · ·Q· · And not just a wild guess.
  18· · · ·A· · December of '16, January of '17, right
  19· ·in that area.
  20· · · ·Q· · And is it correct that ListenClear at
  21· ·some point around that time you just mentioned
  22· ·hired Prospects?
  23· · · ·A· · Well it went through Performance Media
  24· ·who then got -- had the relationship with
  25· ·Prospects.

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  ·1· · · ·Q· · Okay.· So ListenClear hired Performance
  ·2· ·Media?
  ·3· · · ·A· · Correct.
  ·4· · · ·Q· · And ListenClear did not hire Prospects?
  ·5· · · ·A· · Correct, at that time.
  ·6· · · ·Q· · Okay.· Has ListenClear ever hired
  ·7· ·Prospects directly?
  ·8· · · ·A· · Well I wouldn't say -- I guess I don't
  ·9· ·understand your meaning of hired.
  10· · · ·Q· · Okay.· Has Listen -- well let me ask
  11· ·you this, has ListenClear ever made payments to
  12· ·Prospects?
  13· · · ·A· · Yes.
  14· · · ·Q· · And has ListenClear also ever made
  15· ·payments to Performance I call it Performance?
  16· · · ·A· · Yes, yes.
  17· · · ·Q· · Did ListenClear ever have a written
  18· ·agreement or contract with Prospects?
  19· · · ·A· · I don't lawyers.· I don't know back
  20· ·then.· I mean we do now.
  21· · · ·Q· · You have a contract now with Prospects?
  22· · · ·A· · Yeah.
  23· · · ·Q· · Do you know when that contract began?
  24· · · ·A· · I don't know the exact date.
  25· · · ·Q· · Can you approximate even it's the year

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  ·1· ·or the month or something like that?
  ·2· · · ·A· · I mean they do -- first one I would say
  ·3· ·March of '18 maybe.· It's a guess.
  ·4· · · ·Q· · And when did ListenClear first have a
  ·5· ·contract with Performance?
  ·6· · · ·A· · Probably around that time, December or
  ·7· ·January.· December of '17 -- '16, January of
  ·8· ·'17.
  ·9· · · ·Q· · Okay.· Now you mentioned that -- if I
  10· ·understood you correctly -- that ListenClear had
  11· ·hired Performance which, in turn, hired or
  12· ·subcontracted with Prospects, is that correct?
  13· · · ·A· · Correct.
  14· · · ·Q· · Can you tell me in whatever detail you
  15· ·recall how that happened in terms of the
  16· ·logistics or?
  17· · · ·A· · I have no -- I wouldn't -- I mean -- I
  18· ·just know that from just knowing about the
  19· ·timelines.· I have no firsthand knowledge of any
  20· ·of those relationships.
  21· · · ·Q· · And why did ListenClear hire
  22· ·Performance?
  23· · · ·A· · We -- I mean we hire -- I tried lots of
  24· ·different marketing companies just, you know,
  25· ·the pay-per-call companies and stuff just to get

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  ·1· ·-- basically transfer calls in.
  ·2· · · ·Q· · When you say pay-per-call what do you
  ·3· ·mean by call?
  ·4· · · ·A· · You pay for a transferred call into our
  ·5· ·sales center.
  ·6· · · ·Q· · Okay.· So if a call is not transferred
  ·7· ·there is no charge?
  ·8· · · ·A· · Correct.
  ·9· · · ·Q· · Okay.· Are there any flat-fee rates or
  10· ·monthly rates other is it just for the
  11· ·transfers?
  12· · · ·A· · Just for the transfers.
  13· · · ·Q· · And so was ListenClear paying
  14· ·Performance for transfers at some point anyway?
  15· · · ·A· · Well I mean we were paying Performance
  16· ·Media but, you know, they're probably just a
  17· ·broker, you know.· I don't think they were
  18· ·transferred anything calls.· I think they were
  19· ·subcontracting it.
  20· · · ·Q· · But was ListenClear at some point also
  21· ·paying Prospects for transfers?
  22· · · ·A· · After our -- after that.
  23· · · ·Q· · After what?
  24· · · ·A· · After our relationship with
  25· ·Performance.· I mean I think Blair set it up so

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  ·1· ·he could kind of go around them, you know.
  ·2· · · ·Q· · So was that -- other than for economic
  ·3· ·reasons was there any reason why ListenClear as
  ·4· ·you say went around Performance?
  ·5· · · ·A· · No.· It was --
  ·6· · · ·Q· · Do you know about when that occurred?
  ·7· · · ·A· · Probably three or four months into the
  ·8· ·contract.
  ·9· · · ·Q· · So approximately when would this have
  10· ·been?
  11· · · ·A· · March, April of '17.
  12· · · ·Q· · Okay.· Did Prospects charge less per
  13· ·transfer than Performance?
  14· · · ·A· · Yes.
  15· · · ·Q· · How much did Prospects charge per
  16· ·transfer?
  17· · · ·A· · $13.75.
  18· · · ·Q· · And did that number ever change?
  19· · · ·A· · It hasn't, no.
  20· · · ·Q· · How much did Performance charge per
  21· ·transfer --
  22· · · ·A· · I have no idea.· I just know I've
  23· ·always --
  24· · · ·Q· · Just let me finish the question.
  25· · · ·A· · Oh sure.

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  ·1· · · ·A· · Just like a -- it's like when some --
  ·2· ·you call up a customer service place or anything
  ·3· ·and it says, you know, press 1 for here, press 2
  ·4· ·for here, press 3 for here.· It's just a routing
  ·5· ·system for phones.
  ·6· · · ·Q· · And when it says pres 1 or press 2 or
  ·7· ·something like that, is that a recording?
  ·8· · · ·A· · Yes, I would assume.
  ·9· · · ·Q· · As opposed to a live person who would
  10· ·just say, hi Joe or something, press 1 or press
  11· ·2?
  12· · · ·A· · Correct.
  13· · · ·Q· · Okay.· And you also mentioned an
  14· ·avatar.· What is that?
  15· · · ·A· · Just a different type of technology
  16· ·along the same lines where it's not a live
  17· ·person.· It sounds more like a live person.
  18· · · ·Q· · But it's a recording nonetheless?
  19· · · ·A· · Correct.
  20· · · ·Q· · Okay.· Did Prospects ever make, as far
  21· ·as you know, live calls to people?
  22· · · ·A· · Well it's a recording in the fact -- it
  23· ·is a recording but there's somebody live at the
  24· ·computer pressing the answers.
  25· · · ·Q· · Okay.· So is it correct that when

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  ·1· ·someone -- when anyone would pickup the phone in
  ·2· ·response to one of the calls we're discussing
  ·3· ·there would not be a live person to actually
  ·4· ·talk with as in the way you and I are speaking
  ·5· ·right now?
  ·6· · · ·A· · As far as I know, no.
  ·7· · · ·Q· · What's the basis of your statement that
  ·8· ·there was a live person pressing buttons or the
  ·9· ·like with this avatar technology?
  10· · · ·A· · That's how avatar technology works.
  11· · · ·Q· · Who told you that avatar technology was
  12· ·being used?
  13· · · ·A· · Josh.
  14· · · ·Q· · Was that ever put in writing either in
  15· ·a contract or if there was something less formal
  16· ·like an e-mail or something?
  17· · · ·A· · I'm sure it's probably in an e-mail.                   I
  18· ·mean he's mentioned it on the phone, so.
  19· · · ·Q· · Did you ever take any measures to
  20· ·determine whether he was telling you the truth
  21· ·when he said that there were live people
  22· ·pressing buttons or something like that?
  23· · · ·A· · No.· I mean that's just how the
  24· ·technology works.· You can pretty much tell when
  25· ·a sales call comes in when you're listening to

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  ·1· ·Landfall Data?
  ·2· · · ·A· · Yes.
  ·3· · · ·Q· · And what is that?
  ·4· · · ·A· · I guess a data company that Josh -- I
  ·5· ·don't know if he bought data from there or he
  ·6· ·bought data from somebody who bought data from
  ·7· ·there but it came up -- I don't remember the
  ·8· ·case maybe it was when the Hennie case came up
  ·9· ·but I just heard about it I don't -- that was
  10· ·pretty much the extent of my knowledge.
  11· · · ·Q· · Does ListenClear currently use any
  12· ·third party to engage in either avatar or IVR
  13· ·calls or something similar?
  14· · · ·A· · Yes.
  15· · · ·Q· · And who -- what companies does
  16· ·ListenClear use for that right now?
  17· · · ·A· · As far as the avatar or stuff, I don't
  18· ·know how all these guys do their stuff.· I mean,
  19· ·you know, Prospects DM they use.
  20· · · ·Q· · Currently?
  21· · · ·A· · Yes.· Fluent and Revi Media.
  22· · · ·Q· · And what media?
  23· · · ·A· · Revi Media.
  24· · · ·Q· · How do you spell?
  25· · · ·A· · R-e-v-i M-e-d-i-a.

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       TODD C. BANK vs ICOT HOLDINGS, LLC
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  ·1· · · ·Q· · Do you know if anyone asked him from
  ·2· ·ListenClear?
  ·3· · · ·A· · I have no clue on that one.
  ·4· · · ·Q· · Do you know what determined whether a
  ·5· ·given person was transferred to ListenClear
  ·6· ·versus some other company?
  ·7· · · ·A· · No.
  ·8· · · ·Q· · Was there any -- ever a period of time
  ·9· ·during which, as far as you know, that transfers
  10· ·were being made exclusively to ListenClear?
  11· · · ·A· · Not that I'm aware of.
  12· · · ·Q· · Do you know how many other companies
  13· ·also were receiving transfers?
  14· · · ·A· · I have no idea.
  15· · · ·Q· · Were there a geographical area from
  16· ·which ListenClear wanted transfers?
  17· · · ·A· · Just the U.S.A.
  18· · · ·Q· · All 50 states?
  19· · · ·A· · Yes.
  20· · · ·Q· · Other than transfers, did Prospects
  21· ·ever provide the name of a lead for Prospects
  22· ·to -- for ListenClear to either call or e-mail
  23· ·or reach out to?
  24· · · ·A· · No.
  25· · · ·Q· · Did you ever hear the recorded material

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       TODD C. BANK vs ICOT HOLDINGS, LLC
       1:18-CV-02554 - JACOB ZELLWEGER                                  53

  ·1· ·Prospects?
  ·2· · · ·A· · Correct.
  ·3· · · ·Q· · But you're not sure if that actually
  ·4· ·was done?
  ·5· · · ·A· · Correct.
  ·6· · · ·Q· · Okay.· Was there any particular number
  ·7· ·or range of transfers that ListenClear requested
  ·8· ·per month or any period of time?
  ·9· · · ·A· · I literally told them just as many
  10· ·calls as you want to send us or can send us
  11· ·we've got the capacity, so just send us the
  12· ·calls.
  13· · · ·Q· · And approximately in an average month
  14· ·how many transfers were received from Prospects?
  15· · · ·A· · When it's ranked up, you know, over
  16· ·time started out probably a few hundred a day
  17· ·back then.
  18· · · ·Q· · And what about now?
  19· · · ·A· · 1,400, 1,600.
  20· · · ·Q· · Per day?
  21· · · ·A· · Yeah.
  22· · · ·Q· · Does ListenClear maintain some kind of
  23· ·record of each of those calls?
  24· · · ·A· · Yes.
  25· · · ·Q· · And how long -- how far back do those

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       TODD C. BANK vs ICOT HOLDINGS, LLC
       1:18-CV-02554 - JACOB ZELLWEGER                                  54

  ·1· ·records go?
  ·2· · · ·A· · Since our inception, 2015.
  ·3· · · ·Q· · And when you say our inception what do
  ·4· ·you mean?
  ·5· · · ·A· · ListenClear.
  ·6· · · ·Q· · Okay.· So ListenClear's been a company
  ·7· ·since 2015?
  ·8· · · ·A· · I think it was maybe -- 2014 or 2015.
  ·9· · · ·Q· · Did Prospects ever have any kind of
  10· ·access to ListenClear's computers or computer
  11· ·systems?
  12· · · ·A· · No.
  13· · · ·Q· · Or software?
  14· · · ·A· · No.
  15· · · ·Q· · Now you mentioned earlier that over
  16· ·some period of time Prospects forwarded more
  17· ·calls on a daily basis than previous?
  18· · · ·A· · Correct.
  19· · · ·Q· · And what -- how did that come about?
  20· · · ·A· · As far as I know it was back when Blair
  21· ·was doing it.· I mean it's always been -- ever
  22· ·since I had the relationship with Prospects I
  23· ·just told them, send whatever you can and I'll
  24· ·tell you when the -- basically we're at capacity
  25· ·and not send anymore and we've got so many reps

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       TODD C. BANK vs ICOT HOLDINGS, LLC
       1:18-CV-02554 - JACOB ZELLWEGER                                  55

  ·1· ·that it's never really reached that point, so.
  ·2· · · ·Q· · So it wasn't a matter of just specific
  ·3· ·numbers like, for example, send a hundred a day
  ·4· ·and then all of a sudden send 150 it was just
  ·5· ·more, hey, keep them coming?
  ·6· · · ·A· · Yeah.· And then, you know, he said like
  ·7· ·anything it takes a little -- takes time to ramp
  ·8· ·up and stuff and we'll send you whatever we can.
  ·9· · · ·Q· · Well in order to transfer more calls to
  10· ·ListenClear I'm assuming that it would either
  11· ·mean that Prospects would have to make more
  12· ·calls all together or transfer a greater
  13· ·proportion of the calls they do make to
  14· ·Prospects, is that logical at least?
  15· · · ·A· · Uh-huh.
  16· · · ·Q· · Or a combination thereof?
  17· · · ·A· · Uh-huh.
  18· · · ·Q· · Okay.· Do you know which of those or
  19· ·combination occurred?
  20· · · ·A· · I don't know.· It's weird.· Some months
  21· ·it's really strong on calls.· Some weeks it's --
  22· ·it's just you never know.
  23· · · ·Q· · Do you know if there's any correlation
  24· ·between the number of calls in a given month,
  25· ·number of transfers in a given month that

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       TODD C. BANK vs ICOT HOLDINGS, LLC
       1:18-CV-02554 - JACOB ZELLWEGER                                  80

  ·1· · · · · · · C E R T I F I C A T E
  ·2
  ·3· ·STATE OF GEORGIA:
  ·4· ·CHATHAM COUNTY:
  ·5
  ·6· · · · · · I, Kyle J. Saniga, Court Reporter and
  ·7· ·Notary Public in and for the above county and
  ·8· ·state, do hereby certify that the foregoing
  ·9· ·testimony was taken before me at the time and
  10· ·place herein-before set forth; that the witness
  11· ·was by me first duly sworn to testify to the
  12· ·truth, the whole truth, and nothing but the
  13· ·truth, that thereupon the foregoing testimony
  14· ·was later reduced by computer transcription; and
  15· ·I certify that this is a true and correct
  16· ·transcript of my stenographic notes so taken.
  17· · · · · · I further certify that I am not of
  18· ·counsel to either party, nor interested in the
  19· ·event of this cause.
  20
  21
                                  5% 1. Saniga
  22· · · · · · · · · · · ____________________________
  23· · · · · · · · · · · Kyle J. Saniga, CCR
  24· · · · · · · · · · ·Notary Public, B-2038
  25· · · · · · · · · · · Savannah, Georgia

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                           EXHIBIT “B”

                  Plaintiff’s Response to Defendants’
                      First Set of Interrogatories

                               July 26, 2018
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK

   TODD C. BANK, Individually and on Behalf of             Case 1:18-cv-02554-AMD-PK
   All Others Similarly Situated,
                                                           PLAINTIFF’S RESPONSE
                                          Plaintiff,       TO DEFENDANTS’
                                                           FIRST SET OF
                  -against-                                INTERROGATORIES

   ICOT HOLDINGS, LLC, and
   ICOT HEARING SYSTEMS, LLC,

                                 Defendants.
   ________________________________________
   ICOT HEARING SYSTEMS, LLC,

                          Third-Party Plaintiff,

                  -against-

   PROSPECTS DM INC.,

                          Third-Party Defendant.


        Plaintiff, Todd C. Bank (“Bank”), pursuant to Fed. R. Civ. P. 33, hereby responds to the First

 Set of Interrogatories by Defendants, ICOT Holdings, LLC, and ICOT Hearing Systems, LLC.

                                    GENERAL STATEMENTS

        1.      In responding to these Interrogatories, Plaintiff does not waive any rights to object

 to any order related to discovery in this action.

        2.      Plaintiff continues to search for information responsive to Defendants’ Interrogatories,

 and therefore reserves the right to supplement its responses to each Interrogatory with information

 as such information becomes available, subject to all applicable objections.

        3.      By responding to any Interrogatory, Plaintiff does not concede the materiality of the

 subjects to which it refers. The Responses made herein are made expressly subject to, and without


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 waiving or intending to waive, any questions or objections as to competency, relevancy, materiality,

 privilege, or admissibility as evidence or for any other purpose in any proceeding including trial of

 this action.

         4.     Inadvertent disclosure of any information that is privileged, or is otherwise immune

 from discovery, shall not constitute a waiver of any privilege or of any other ground for objecting to

 discovery with respect to such information, or Plaintiff’s right to object to the use of any such

 information during any proceeding in this litigation or otherwise.

         5.     Plaintiff incorporates, by reference, every General Objection set forth below into each

 specific Response whether or not a Response repeats a General Objection for any reason.

                                     GENERAL OBJECTIONS

         1.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 purports to impose any requirement or obligation greater, or different, than those under the Federal

 Rules of Civil Procedure and the applicable Rules and Orders of the Court.

         2.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks information that is not relevant to the subject matter of this lawsuit.

         3.     Plaintiff objects to each instruction, definition, and Request to the extent that it seeks

 information that is not calculated to lead to the discovery of admissible evidence.

         4.     Plaintiff objects to each instruction, definition, and Request to the extent that it is

 ambiguous, vague, or otherwise incomprehensible.

         5.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 is overly broad.

         6.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 is unduly burdensome.


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         7.      Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 is argumentative.

         8.      Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks information that is unreasonably cumulative or duplicative.

         9.      Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks information that is reasonably accessible to the propounding party.

         10.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks information that, if it exists, is obtainable from some other source that is more convenient, less

 burdensome, or less expensive.

         11.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks information that, if it exists, is obtainable from a publicly available source to which access

 would not be unduly burdensome upon the propounding party.

         12.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks information that is subject to the attorney-client privilege, which is broadly construed and

 extends to “factual information” and “legal advice” and includes trial-preparation material and

 material that reflects the legal reasoning and theories of Plaintiff ’s contentions.

         13.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks confidential, proprietary, or trade-secret information.

         14.     Plaintiff objects to each instruction, definition, and Interrogatory to the extent that it

 seeks documents.

         15.     Plaintiff objects to each Interrogatory to the extent that it exceeds the limit of

 interrogatories, including all discrete sub-parts, as provided by Fed. R. Civ. P. 33(a)(1).

         16.     Plaintiff objects to each Interrogatory to the extent that it has already been


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 propounded.

                                  RESPONSES AND OBJECTIONS

 Interrogatory No. 1:

 In paragraph 22 of the Amended Complaint, you allege that you received “numerous telephone calls

 that were placed to the same residential telephone line in or about May and June of 2017 whose

 Caller ID information was identical to that set forth in [paragraph 21 of] the Complaint.” You

 reference such calls as the “Additional Bank Calls.”

        For each and every Additional Bank Call,

        a.      State the date and time of each Additional Bank Call,

        b.      The telephone number assigned to the telephone unit(s) that received each Additional

 Bank Call (the “Receiving Phone”),

        c.      For each Additional Bank Call, state whether the Receiving Phone(s) was a cell/mobile

 phone, internet or line phone,

        d.      The telephone service provider of each such Receiving Phone(s),

        e.      Whether you or a third party on your behalf recorded one or more Additional Bank

 Call(s) and identify each recorded call by date and time,

        f.      Identify all lists, logs, records, memoranda, reports, spreadsheets or other documents

 that record the receipt of the Additional Bank Calls, and

        g.      Identify the custodian of such recording(s) and document(s).

 Response to Interrogatory No. 1:

        a.      I do not possess responsive information.

        b.      (516) 489-0961

        c.      A line phone, assuming that Defendants mean “land line”


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        d.      Verizon

        e.      Assuming that the word “state” was intended to be the first word, the answer is no.

        f.      I am unable to make any such identifications.

        g.      Assuming that “such recording(s) and document(s)” refer to the recordings and

 documents that are described in parts “a” through “f” of the Interrogatory, there is no custodian.



         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set forth herein
 are true and correct.

 s/ Todd C. Bank
 Todd C. Bank
 Executed on July 26, 2018

                                                                For the Objections:
 Dated: July 26, 2018
                                                                 s/ Todd C. Bank
                                                                TODD C. BANK,
                                                                 ATTORNEY AT LAW, P.C.
                                                                119-40 Union Turnpike
                                                                Fourth Floor
                                                                Kew Gardens, New York 11415
                                                                (718) 520-7125
                                                                By: Todd C. Bank

                                                                Counsel to Plaintiff

 TO:    FREEMAN MATHIS & GARY, LLP
        1800 John F. Kennedy Blvd.
        Suite 1500
        Philadelphia, PA 19103-7401
        (267) 758-6009

        Counsel to Defendants




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                           EXHIBIT “C”

              Defendants’ Responses and Objections to
               Plaintiff’s First Set of Interrogatories

                             August 27, 2018
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                              IN TI-[E UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF NEW YORK

    TODD C. BANK, Individually and on                       )
    Behalf of All Others Similarly Situated,                )
                                                            )
                                           Plaintiff, )
                                                           )                       CIVIL ACTION FILE
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                                                                                   NO. 1:18-cv-02554-AMI)-PK
    ICOT HOLDINGS, LLC and ICOT
    HEARING SYSTEMS, LLC,

                                        Defendants. I


                                                         4eJ\\41.\1\,4\ ;


   ICOT HEARING SYSTEMS, LLC,
                                                        \
                                                        4

                              Third-Party Plaintiff, I
   v.                                                   I

   PROSPECTS DM INC.,

                            Third-Party Defendant.
                                                       >4A_J\ 41\@ ‘yw ~w a_\/¥w



         DEFENDANTS ICOT HEARING SYSTEMS, LLC’S RESPONSES AND OBJECTIONS
                   flj(_)_PLA]NTIFF’S FIRST SET OF INTERRQQATORIES
                                           INTRODUCTION

              Pursuant to Federal Rules ofCivil Procedure 26 and 33, Defendant ICOT Hearing Systems,

  LLC. (“ICOT”) serves these Responses and Objections to Plaintiffs First Set of Interrogatories.


                                       GENERAL OBJECTIONS
              A.     ICOT objects to each request to the extent that it seeks discovery regarding

  information that is not relevant to the subject matter of the claim or defense of any party or not

  proportionate to the needs ofthe case.




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              B.   ICOT objects to each request to the extent that it is overly broad as to time and/or

   in scope.                                                      '

              C.   ICOT objects to each request to the extent that it is vague and ambiguous.

              D.   ICOT objects to each and every one of the requests on the basis that it seeks to

   impose any duties or requirements upon it beyond those required by the Federal Rules of Civil

   Procedure.

              E.   ICOT objects to the deﬁnitions and instructions sections ofthe requests to the extent

   that they are vague and ambiguous or seek information beyond that required by the Federal Rules

   of Civil Procedure.

              F.   ICOT objects to each request to the extent that it is unduly burdensome or designed

  to be harassing.

              G.   ICOT objects to each request to the extent that it seeks discovery regarding

  information that is neither in the possession nor the control of Defendant, and/or is already in the

  possession of Plaintiff.

              H.   ICOT objects to each request to the extent that it seeks to compel Defendants to

  produce a document that does not already exist.

              I.   ICOT objects to each request to the extent that it calls for a legal conclusion.

              J.   ICOT objects to each request to the extent that it seeks discovery regarding

  information that is protected from discovery by the attorney-client privilege or the work-product

  doctrine or which constitutes or discloses the mental impressions, conclusions, opinions or legal

  theories of an attomey in this or any other litigation, or which is protected from disclosure by any

  other privilege or immunity.




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                K.     These responses, while based on diligent exploration by ICOT reﬂect only the

   current state of its knowledge, understanding, and belief with respect to the matters addressed

   herein. These responses are neither intended as, nor shall they in any way be deemed, admissions

   or representations that further information or documents do not exist. Without in any way

   obligating itself to do so, ICOT reserves the right to modify or supplement its responses with such

   pertinent information as may be subsequently discovered. Furthermore, these responses are given

   without prejudice to ICOT’s right to use or rely on at any time, including trial, subsequently

   discovered infomqation or documents, or information or documents omitted from these answers as

   a result of, among other things, mistake, error, oversight, or inadvertence.

                L.     The information supplied in these responses is not based solely on the knowledge

   of ICOT, but includes knowledge of ICOT, its agents, representatives, and attorneys, unless

  privileged.

                M.     The word usage and sentence structure may be that of the attorneys assisting in the

  preparation ofthe responses, and does not purport to be the precise language ofthe executing party.

                N.     ICOT reserves the right to supplement these responses pursuant to the Federal

  Rules of Civil Procedure.

                These General Objections, and each objection herein, apply to each and every response as

  set forth below and those responses are subject to and in conjunction with these General

  Objections.




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                                SPECIFIC OBJECTIONS AND ANSWERS

                                           INTERROGATORIES

   INTERROGATORY 1.

              State whether any Promotional Telephone Calls were placed to Bank’s Telephone Number;
   Ergqli if so, the number of such calls and the dates and/or times of each such Promotional Telephone


   RESPONSE:

              ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

   and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

   any telephone calls that meet Plaintiff’ s deﬁnition of “Promotional Telephone Call.” ICOT

   understands that Prospects DM Inc. transferred two calls to ICOT on June 30, 2017 and May 30,

   2018 after Plaintiff expressed an interest in obtaining hearing aids. During the June 30, 2017 call,

  Plaintiff identiﬁed himself as Joseph Carne and again expressed an interest in obtaining hearing

  aids. Similarly, during the May 30, 2018 call, Plaintiff identified himself as Joseph Klarne and

  again expressed an interest in obtaining hearing aids.


  INTERROGATORY 2.

         State whether any Promotional Telephone Calls were placed to any Additional Telephone
  Numbers; and, if so, the number of such calls and the dates and/or times of each such Promotional
  Telephone Call.

  RESPONSE:

              ICOT objects to the use of the term “Promotional Telephone Call,” as its deﬁnition is vague

  and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

  any telephone calls that meet Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT

  understands that Prospects DM Inc. transferred two calls to ICOT on June 30, 2017 and May 30,

  2018 after Plaintiff expressed an interest in obtaining hearing aids. During the June 30, 2017 call,


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   Plaintiff identiﬁed himself as Joseph Came and again expressed an interest in obtaining hearing

   aids. Similarly, during the May 30, 2018 call, Plaintiff identiﬁed himself as Joseph Klarne and

   again expressed an interest in obtaining hearing aids.

   INTERROGATORY 3.

              Identify any evidence of consent to place any Promotional Telephone Calls to Bank’s
   Telephone Number.


  RESPONSE:

              ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

  and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

  any telephone calls that meet Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT further

  states that it retained Prospects DM Inc. to perform certain marketing procedures for ICOT and

  that Prospects DM Inc. represented to ICOT that any calls made would be based on prior written

  consent obtained from online opt-in data. Additionally, Plaintiff expressed an interest in obtaining

  hearing aids during its calls with ICOT.

  INTERROGATORY 4.

         Identify any evidence of consent to place any Promotional Telephone Calls to any
  Additional Telephone Numbers.

  RESPONSE:

              ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

  and ambiguous. ICOT further objects to the term “Additional Telephone Numbers,” as this term

  is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

  objections, ICOT states that it is not aware of any telephone calls that meet Plaintiffs deﬁnition

  of “Promotional Telephone Call.” ICOT further states that it retained Prospects DM Inc. to

  perform certain marketing procedures for ICOT and that Prospects DM Inc. represented to ICOT



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   that any calls made would be based on prior written consent obtained from online opt-in data.

   ICOT reserves the right to supplement this response as it obtains additional information.

   INTERROGATORY 5.

              Identify any person who placed any Promotional Telephone Calls to Bank’s Telephone Number.

   RESPONSE:

              ICOT objects to the deﬁnition of“Promotional Telephone Call,” as such deﬁnition is vague

  and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

  any telephone calls that meet Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT further

  states that it retained Prospects DM lnc. to perform certain marketing procedures for ICOT and

  that Prospects DM Inc. represented to ICOT that any calls made would be based on prior written

  consent obtained from online opt-in data. ICOT understands that Prospects DM Inc. transferred

  two calls to ICOT on June 30, 2017 and May 30, 2018 after Plaintiff expressed an interest in

  obtaining hearing aids.

  INTERROGATORY 6.

              Identify any person who placed any Promotional Telephone Calls to any Additional
  Telephone Numbers.

  RESPONSE:

              ICOT objects to the deﬁnition of“Promotional Telephone Call,” as such deﬁnition is vague

  and ambiguous. ICOT further objects to the term “Additional Telephone Numbers,” as this term

  is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

  objections, ICOT states that it is not aware of any telephone calls that meet Plaintiffs deﬁnition

  of “Promotional Telephone Call.” ICOT further states that it retained Prospects DM Inc. to

  perform certain marketing procedures for ICOT and that Prospects DM Inc. represented to ICOT

  that any calls made would be based on prior written consent obtained from online opt-in data.



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   INTERROGATORY 7

          Quote, or, if unable to quote, describe, the script of each Promotional Telephone Call that
   was placed.

   RESPONSE:                             '

              ICOT objects to the deﬁnition of “Promotional Telephone Call,” as such deﬁnition is vague

   and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

   any telephone calls that meet Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT further

   states that it retained Prospects DM Inc. to perform certain marketing procedures for ICOT and

   that Prospects DM Inc. would have the script for any calls it made.

   INTERROGATORY 8

           State what would occur as a result of each requested keypad or voice response that might
   occur following the answering of each Promotional Telephone Call that was placed.

   RESPONSE:

              ICOT objects to the deﬁnition of “Promotional Telephone Call,” as such deﬁnition is vague

  and ambiguous. ICOT further objects to the use ofthe terms “requested keypad or voice response”

  as such terms are not deﬁned and are otherwise vague and ambiguous. Subject to and without

  waiving these objections, ICOT states that it is not aware of any telephone calls that meet

  Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT further states that it retained

  Prospects DM Inc. to perform certain marketing procedures for ICOT and that Prospects DM Inc.

  would have made any such calls such that this information, if it exists, would be in the possession

  of Prospects DM.

  INTERROGATORY 9

          State the manner by, and any source from which, Bank’s Telephone Number was obtained
  so as to enable the placing of any Promotional Telephone Calls to such number.




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   RESPONSE:

              ICOT objects to the deﬁnition of “Promotional Telephone Call,” as such deﬁnition is vague

   and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

   any telephone calls that meet Plaintiffs deﬁnition of“Promotional Telephone Call.” ICOT further

   states that it retained Prospects DM Inc. to perform certain marketing procedures for ICOT and

   that Prospects DM Inc. represented to ICOT that any calls made would be based on prior written

   consent obtained from online opt-in data.

   INTERROGATORY 10

              State whether Bank had maintained a relationship with the Responding Party on or prior
   to May 31, 2018.

   RESPONSE:

              ICOT objects to the use of the term “relationship” as such term is not deﬁned and is

   otherwise vague and ambiguous. Subject to and without waiving this objection, ICOT states that,

  prior to May 31, 2018, Plaintiffhad maintained a relationship with ICOT by expressing an interest

   in ICOT’s hearing aids.

  INTERROGATORY 11

              State the purpose for which any Promotional Telephone Call was placed.

  RESPONSE:

              ICOT objects to the deﬁnition of“Promotional Telephone Call,” as such deﬁnition is vague

  and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

  any telephone calls that meet Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT further

  states that it retained Prospects DM Inc. to perform certain functions to market ICOT’s hearing

  aids and that Prospects DM Inc. represented to ICOT that any calls made would be based on prior

  written consent obtained from online opt-in data.



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   INTERROGATORY 12

                 Describe any relationship between the Responding Party and a Lead Generator.

   RESPONSE:

                ICOT objects to the deﬁnition of “Lead Generator,” as such deﬁnition is vague and

   ambiguous. ICOT further objects to the use of the term “relationship” as such term is not deﬁned

   and is otherwise vague and ambiguous. Subject to and without waiving these objections, ICOT

   states that it retained Prospects DM Inc. to perform certain marketing procedures for ICOT and

   that Prospects DM Inc. represented to ICOT that any calls made would be based on prior written

   consent obtained from online opt-in data.

  INTERROGATORY 13

           Identify, and describe the substance of, any agreement or contract that relates, in part or
  in full, to Telemarketing.

  RESPONSE:

                ICOT objects to Interrogatory No. 13 on the basis that it is overly broad and unduly

  burdensome in that it seeks to have ICOT identify any agreement concerning “Telemarketing,”

  regardless of whether that entity was involved in any call to Plaintiff. ICOT further objects to the

  deﬁnition of “Telemarketing,” as such deﬁnition is vague and ambiguous, including because it

  incorporates the tenn “Promotional Telephone Call,” another vague and ambiguous term. Subject

  to and without waiving these objections, ICOT states that it retained Prospects DM Inc. to perform

  certain marketing procedures for ICOT and that it has been unable to locate a written agreement

  with Prospects DM Inc. However, when ICOT started working with Prospects DM Inc., ICOT

  had an agreement with another vendor, Performance Media Strategies, which subcontracted with

  Prospects DM Inc.




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   INTERROGATORY 14

    ,    Identify, and describe the substance of any record of any invoices relating to
   Telemarketing.

   RESPONSE:

              ICOT objects to Interrogatory No. 14 on the basis that it is overly broad and unduly

   burdensome in that it seeks to have ICOT identify and “describe the substance of any record of

   any invoices relating to Telemarketing,” regardless of whether that record related to any call to

   Plaintiff. ICOT further objects to the deﬁnition of “Telemarketing,” as such deﬁnition is vague

   and ambiguous, including because it incorporates the tenn “Promotional Telephone Call,” another

   vague and ambiguous term. ICOT also objects to the extent that it seeks information that is not

   relevant to any claim or defense in this matter and is not proportional to the needs of the case.

  INTERROGATORY 15

        Identify, and describe the substance of any communications, agreements, or contracts
  between the Responding Party and a Lead Generator.

  RESPONSE:

              ICOT objects to Interrogatory No. 15 on the basis that it is overly broad and unduly

  burdensome in that it seeks to have ICOT identify and “describe the substance of any

  communications, agreements, or contracts between the Responding Party and a Lead Generator,

  regardless of whether they relate to the subject matter of this case. ICOT objects to the deﬁnition

  of “Lead Generator,” as such deﬁnition is vague and ambiguous. ICOT also objects to the extent

  that it seeks information that is not relevant to any claim or defense in this matter and is not

  proportional to the needs ofthe case. Subject to and without waiving these objections, ICOT states

  that it has no written agreement with Prospects DM and, pursuant to Rule 33(d), ICOT will produce

  relevant communications upon the parties’ agreement to search terms and custodians.




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   INTERROGATORY 16

              Identify, and describe the substance ofany record of payments to any Lead Generator.


   RESPONSE:

              ICOT objects to Interrogatory No. 16 on the basis that it is overly broad and unduly

   burdensome in that it seeks to have ICOT identify and “describe the substance of any record of

   payments to any Lead Generator,” regardless of whether it relates to the subject matter of this case.

   ICOT objects to the deﬁnition of “Lead Generator,” as such deﬁnition is vague and ambiguous.

   ICOT objects to Interrogatory No. 14 on the basis that it is overly broad and unduly burdensome

   in that it seeks to have ICOT identify and “describe the substance of any record of any invoices

   relating to Telemarketing,” regardless ofwhether that record related to any call to Plaintiff. ICOT

   further objects to the deﬁnition of “Telemarketing,” as such deﬁnition is vague and ambiguous,

   including because it incorporates the tenn “Promotional Telephone Call,” another vague and

   ambiguous term. ICOT also objects to the extent that it seeks information that is not relevant to

   any claim or defense in this matter and is not proportional to the needs of the case. Subject to and

  without waiving these objections, ICOT states that, pursuant to Rule 33(d), ICOT will produce a

  summary of payments made to Prospects DM Inc. from which the answer to this interrogatory can

  be obtained.

  INTERROGATORY 17

          Identify any persons that any Lead Generator transferred, or referred to the Responding
  Party, as an actual or potential customer of the Responding Party.

  RESPONSE:

              ICOT objects to Interrogatory No. 16 on the basis that it is overly broad and unduly

  burdensome in that it seeks to have ICOT identify and “describe the substance of any record of




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   payments to any Lead Generator,” regardless ofwhether it relates to the subject matter ofthis case,

   including calls transferred by Prospects DM Inc.           ICOT objects to the deﬁnition of “Lead

   Generator,” as such deﬁnition is vague and ambiguous. ICOT also objects to the extent that it

   seeks information that is not relevant to any claim or defense in this matter and is not proportional

   to the needs of the case. Subject to and without waiving these objections, ICOT states that,

   pursuant to Rule 33(d), ICOT will produce a spreadsheet containing transfers from Prospects DM

   Inc. from which the answer to this interrogatory can be obtained.

   INTERROGATORY 18

          State the type of goods and/or services ofthe Responding Party that Promotional Telephone
   Calls were seeking to promote, advertise, sell, or provide.

  RESPONSE:

              ICOT objects to the deﬁnition of “Promotional Telephone Call,” as such deﬁnition is vague

  and ambiguous. Subject to and without waiving this objection, ICOT states that it is not aware of

  any telephone calls that meet Plaintiffs deﬁnition of “Promotional Telephone Call.” ICOT further

  states that it retained Prospects DM Inc. to perform certain marketing procedures for ICOT related

  to its hearing aids and that Prospects DM Inc. represented to ICOT that any calls made would be

  based on prior written consent obtained from online opt-in data.

  INTERROGATORY 19

         Identify, and describe the substance of any statement that was taken from any person
  concerning the allegations set forth in the Complaint, whether such statement was taken by the
  Responding Party or any other person.

  RESPONSE:

              ICOT objects to the use of the term “statement” to the extent that it seeks information that

  is protected by the attomey-client privilege, the work-product doctrine, or any other available

  privilege. Subject to and without waiving this objection, pursuant to Rule 33(d), it will make



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   available an afﬁdavit submitted by Prospects DM Inc. from which the answer to this interrogatory

   can be obtained.

   INTERROGATORY 20


            Identify, and describe the substance of any investigation concerning the allegations set
   forth in the Complaint, whether such investigation was made by the Responding Party or any other
   person.

   RESPONSE:

              ICOT objects to Interrogatory No. 20 on the basis that it seeks information that is protected

   by the attomey-client privilege, the work-product doctrine, or any other available privilege.

   Subject to and without waiving this objection, ICOT states that it investigated the calls alleged in

  the Complaint.         ICOT states that it will supplement this response if it obtains additional

   information.

  INTERROGATORY 21

         Identify, and describe the substance of any statement that was taken from any person
  concerning the allegations set forth in any Promotional Telephone Call Action, whether such
  statement was taken by the Responding Party or any other person.

  RESPONSE:

              ICOT objects to the use of the term “Promotional Telephone Call Action,” which is

  undeﬁned and is otherwise vague and ambiguous. ICOT further objects to the use of the term

  “statement” to the extent that it seeks information that is protected by the attorney-client privilege,

  the work-product doctrine, or any other available privilege. Subject to and without waiving this

  objection, pursuant to Rule 33(d), it will make available an afﬁdavit submitted by Prospects DM

  Inc. from which the answer to this interrogatory can be obtained.




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   INTERROGATORY 22

           Identify, and describe the substance of any investigation concerning the allegations set
   forth in any Promotional Telephone Call Action, whether such investigation was made by the
   Responding Party or any other person.

   RESPONSE:

              ICOT objects to the use of the term “Promotional Telephone Call Action,” which is

   undeﬁned and is otherwise vague and ambiguous. ICOT further objects to Interrogatory No. 22

   on the basis that it seeks information that is protected by the attorney-client privilege, the work-

   product doctrine, or any other available privilege. Subject to and without waiving this objection,

   ICOT states that it investigated the calls alleged in the Complaint. ICOT states that it will

   supplement this response if it obtains additional information.

   INTERROGATORY 23

              Identify, and describe the substance of any documents exchanged in discovery in any
   Promotional Telephone Call Action.

  RESPONSE:

              ICOT objects to the use of the term “Promotional Telephone Call Action,” which is

  undeﬁned and is otherwise vague and ambiguous. ICOT also objects to the extent that it seeks

  information that is not relevant to any claim or defense in this matter and is not proportional to the

  needs of the case.

  INTERROGATORY 24

         Identify, and describe the substance of any transcripts of a deposition in any Promotional
  Telephone Call Action.

  RESPONSE:

              ICOT objects to the use of the term “Promotional Telephone Call Action,” which is

  undeﬁned and is otherwise vague and ambiguous. ICOT also objects to the extent that it seeks




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   information that is not relevant to any claim or defense in this matter and is not proportional to the

   needs of the case. Subject to and without waiving these objections, ICOT states that there are no

   such deposition transcripts.

   INTERROGATORY 25

               Identify everyone who represented the Responding Party to any Lead Generator.

   RESPONSE:

              ICOT objects to Interrogatory No. 25 on the basis that the phrase “represented the

  Responding Party to any Lead Generator” is vague and ambiguous. ICOT cannot determine the

   information Plaintiff seeks in this interrogatory and requests clariﬁcation.

  INTERROGATORY 26

          Identify, and describe the substance of any documents, that pertain to any
  communications with any person regarding the allegations set forth in the Complaint, including
  for each such communication, documents that evidence:

                      a.     the name and position ofthe person(s) with whom communication occurred;

                     b.      the date on which communications with such person(s) occurred;

                     c.      the substance of the communications with such person(s);

                     d.      the names and positions of the participants in all such communications; and

                     e.      whether there is a written report of the same.

  RESPONSE:

              ICOT objects to Interrogatory No. 26 on the basis that it seeks information that is protected

  by the attorney-client privilege, the work-product doctrine, or any other available privilege.

  Subject to and without waiving this objection, ICOT states that, pursuant to Rule 33(d), it will

  make available certain communications after the parties agree on relevant search terms and

  custodians.




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                                    1366




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                                                      Q,”



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                                    Attorneysfor Defendants [COT Hearing
                                    Systems, LLC and ICOT Holdings, LLC




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK
  TODD C. BANK, Individually and on        )
  Behalf of All Others Similarly Situated,

                                        Plaintiff,
                                                                                  CIVIL ACTION FILE

                                                                                  NO. 1:1 8-cv-02554-AMD-PK
  ICOT HOLDINGS, LLC and ICOT
  HEARING SYSTEMS, LLC,

                                     Defendants.




  ICOT HEARING SYSTEMS, LLC,

                          Third-Party Plaintiff,
   0




  PROSPECTS DM INC.,

                       Third-Party Defendant.
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                                         VERIFICATION

        Personally appeared before the undersigned ofﬁcer, duly authorized to administer oaths,

 Matthew Whelan, who after ﬁrst being duly sworn, deposes and states that the information

 supplied in the foregoing Defendant ICOT Hearing Systems, LLC and Defendant ICOT Holdings,

 LLC’s Responses and Objections to Plaintiffs First Set of Interrogatories is true and correct to the

 best of his knowledge and he is competent to so testify.
Case 1:18-cv-02554-AMD-PK Document 163-1 Filed 01/29/21 Page 47 of 100 PageID #:
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       This £ day ofAugust, 201s

                                          Ma hew Whelan


 Sworn to and subscribed
 before me on this Q i'“‘day
 of £3,113,155:      2018.

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 Notary Publkib/WC %J£

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                           EXHIBIT “D”

                   ICOT Hearing Systems, LLC’s
                    Responses and Objections to
                Plaintiff’s First Set of Interrogatories

                             October 12, 2018
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK

  TODD C. BANK, Individually and on
  Behalf of All Others Similarly Situated,

                                           Plaintiff,
                                                                                     CIVIL ACTION FILE
  v.
                                                                                     NO. 1:1 8-cv-02554-AMD-PK
  ICOT HOLDINGS, LLC and ICOT
  HEARING SYSTEMS, LLC,

                                     Defendants.
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  ICOT HEARING SYSTEMS, LLC,
                                                         \
                                                         J

                          Third-Party Plaintiff, I
  v.

  PROSPECTS DM INC.,
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                        Third-Party Defendant. I
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       DEFENDANTS ICOT HEARING SYSTEMS, LLC’S RESPONSES AND OBJECTIONS
            TO PLAINTIFF’S AMENDED FIRST REQUESTS FOR ADl\/IISSION

                                           INTRODUCTION

         Pursuant to Federal Rules of Civil Procedure (“Rules”) 36 and 33, Defendant ICOT

 Hearing Systems, LLC (“ICOT”) serves these Responses and Objections to Plaintiff's Amended

 First Set of Requests for Admission.

                                    GENERAL QBJECTIONS
         A.     ICOT objects to each request to the extent that it seeks discovery regarding

 information that is not relevant to the subject matter of the claim or defense of any party or not

 proportionate to the needs of the case.
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                                    1371


         B.      ICOT objects to each request to the extent that it is overly broad as to time and/or

 in scope.

         C.      ICOT objects to each request to the extent that it is vague and ambiguous.

         D.      ICOT objects to each and every one of the requests on the basis that it seeks to

 impose any duties or requirements upon it beyond those required by the Federal Rules of Civil

 Procedure.

         E.      ICOT objects to the deﬁnitions and instructions sections ofthe requests to the extent

 that they are vague and ambiguous or seek information beyond that required by the Federal Rules

 of Civil Procedure.

         F.      ICOT objects to each request to the extent that it is unduly burdensome or designed

 to be harassing.

         G.     ICOT objects to each request to the extent that it seeks discovery regarding

 information that is neither in the possession nor the control of Defendant, and/or is already in the

 possession of Plaintiff.

        H.      ICOT objects to each request to the extent that it seeks to compel Defendants to

 produce a document that does not already exist.

        I.      ICOT objects to each request to the extent that it calls for a legal conclusion.

        J.      ICOT objects to each request to the extent that it seeks discovery regarding

 information that is protected from discovery by the attomey-client privilege or the work-product

 doctrine or which constitutes or discloses the mental impressions, conclusions, opinions or legal

 theories of an attorney in this or any other litigation, or which is protected from disclosure by any

 other privilege or immunity.
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         K.     These responses, while based on diligent exploration by ICOT reﬂect only the

  current state of its knowledge, understanding, and belief with respect to the matters addressed

 herein. These responses are neither intended as, nor shall they in any way be deemed, admissions

 or representations that further infonnation or documents do not exist. Without in any way

 obligating itself to do so, ICOT reserves the right to modify or supplement its responses with such

 pertinent information as may be subsequently discovered. Furthermore, these responses are given

 without prejudice to ICOT’s right to use or rely on at any time, including trial, subsequently

 discovered information or documents, or information or documents omitted ﬁ'om these answers as

 a result of, among other things, mistake, error, oversight, or inadvertence.

         L.     The information supplied in these responses is not based solely on the knowledge

 of ICOT, but includes knowledge of ICOT, its agents, representatives, and attorneys, unless

 privileged.

        M.      The word usage and sentence structure may be that ofthe attomeys assisting in the

 preparation ofthe responses, and does not purport to be the precise language ofthe executing party.

        N.      ICOT reserves the right to supplement these responses pursuant to the Federal

 Rules of Civil Procedure.

        These General Objections, and each objection herein, apply to each and every response as

 set forth below and those responses are subject to and in conjunction with these General

 Objections.

                          SPECIFIC OBJECTIONS AND ANSWERS

                                 REOUESTSFOR ADMISSION

 REQUEST FOR ADMISSION 1.

        A Promotional Telephone Call was placed to Bank’s Telephone Number on June 30, 2017.
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  RESPONSE:

         ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

  and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet PlaintiflE’s deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT admits that a call with telephone

 number (516) 489-0961 was transferred through Prospects DM Inc. to ICOT on June 30, 2017.

 REQUEST FOR ADMISSION 2.

        A Promotional Telephone Call was placed to Bank’s Telephone Number on May 30, 2018.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff Subject to and without waiving these objections, ICOT admits that a call with telephone

 number (516) 489-0961 was transferred through Prospects DM Inc. to ICOT on May 30, 2018.

 REQUEST FOR ADMISSION 3.

        At least 100 Promotional Calls were placed to Additional Telephone Numbers.
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                                    1374


 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiff’s deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT ftuther objects to the use of the term “Additional Telephone Numbers” as that

 tennis not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT cannot truthfully admit or deny Request for Admission 3 because calls were

 made by third parties, but ICOT admits that Prospects DM’s call log produced in the Charvat

 matter identiﬁes more than 100 telephone calls.

 REQUEST FOR ADMISSION 4.

        At least 1,000 Promotional Calls to Additional Telephone Numbers.

 RESPONSE:

        ICOT objects to the use of the term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 tennis not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these
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  objections, ICOT cannot truthfully admit or deny Request for Admission 4 because calls were

 made by third parties, but ICOT admits that Prospects DM’s call log produced in the Charvat

 matter identiﬁes more than 1,000 telephone calls.

 REQUEST FOR ADMISSION 5.

        At least 10,000 Promotional Calls to Additional Telephone Numbers.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Cal1,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the use of the tenn “Additional Telephone Numbers” as that

 term is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT cannot truthfully admit or deny Request for Admission 5 because calls were

 made by third parties, but ICOT admits that Prospects DM’s call log produced in the Charvat

 matter identiﬁes more than 10,000 telephone calls.

 REQUEST FOR ADMISSION 6.

        At least 100,000 Promotional Calls to Additional Telephone Numbers.

 RESPONSE:

        ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional
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 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those tenns are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 term is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT cannot truthfully admit or deny Request for Admission 6 because calls were

 made by third parties, but ICOT admits that Prospects DM’s call log produced in the Charvat

 matter identiﬁes more than 100,000 telephone calls.

 REQUEST, FOR ADMISSION 7

        At least 1,000,000 Promotional Calls to Additional Telephone Numbers.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 term is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT camrot truthfully admit or deny Request for Admission 7 because calls were

 made by third parties, but ICOT admits that Prospects DM’s call log produced in the Chan/at

 matter identiﬁes more than 1,000,000 telephone calls.
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 REQUEST FOR ADMISSION 8

        You have no evidence of consent to place any Promotional Telephone Calls to Bank’s
 Telephone Number.

 RESPONSE:

        ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT denies Request for Admission 8.

 REQUEST FOR ADMISSION 9

        You have no evidence of consent to place any Promotional Telephone Calls to any
 Additional Telephone Numbers.

 RESPONSE:

        ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiff’ s deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those tenns are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 tenn is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT denies Request for Admission 9.
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  REQUESTFOR ADMISSION 10
         The source from which, Bank’s Telephone Number was obtained so as to enable the
  placing of any Promotional Telephone Calls to such number did not identify that number as a
  business number.

  RESPONSE:

         ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

  and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT do es not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subj ect to and without waiving these objections, ICOT carmot truthfully admit or deny

 Request for Admission 10, as it is not currently aware ofthe source from which “B ank’s Telephone

 Number” was obtained, as it was obtained by a third-party.

 REQUEST FOR ADMISSION 11
        The source from which, Bank’s Telephone Number was obtained so as to enable the placing
 ofany Promotional Telephone Calls to such number identiﬁed that number as a residential number.

 RESPONSE:

         ICOT objects to the use ofthe tenn “Promotional Telephone Ca1l,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT cannot truthfully admit or deny
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 Request for Admission 1 1, as it is not currently aware ofthe source from which “Bank’s Telephone

 Number” was obtained, as it was obtained by a third-party.

 REQUEST EQR ADMISSION 12

        The source from which, Bar1k’s Telephone Number was obtained so as to enable the placing
 of any Promotional Telephone Calls to such number did not identify that number as a residential
 number.


 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT cannot truthfully admit or deny

 Request for Admission 12, as it is not currently aware of the source ﬁ'om which “Bank’s Telephone

 Number” was obtained, as it was obtained by a third-party.

 nnounsr FOR ADMISSION 13
        The source from which, Bank’s Telephone Number was obtained so as to enable the placing
 of any Promotional Telephone Calls to such number identiﬁed that number as a business number.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to
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 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT cannot truthfully admit or deny

 Request for Admission 13, as it is not currently aware ofthe source from which “Bank’s Telephone

 Number” was obtained, as it was obtained by a third~party.

 REQUEST FOR ADMISSION 1,4

       You have no evidence showing that Bank had maintained a relationship with the
 Responding Party on or prior to May 31, 2018.

 RESPONSE:

        ICOT objects to the use of the term “relationship” as that term is not deﬁned and is

 otherwise vague and ambiguous. Subject to and without waiving these objections, ICOT denies

 Request for Admission 14.

 REQUEST FOR ADMISSION 15

        You have no evidence showing that any person associated with any Additional Telephone
 Numbers to which any Promotional Telephone Calls were placed had maintained a relationship
 with the Responding Party prior to the placement of such calls.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those temrs are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 term is not deﬁned and is otherwise vague and ambiguous. ICOT further objects to the use of the
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  term “relationship” as that tennis not deﬁned and is otherwise vague and ambiguous. Subject to

  and without waiving these objections, ICOT denies Request for Admission 15.

  REQUEST FOR ADMISSION 16

        A Promotional Telephone Call was placed to Bank in order to obtain a customer or
 potential customer ofthe Responding Party.

 RESPONSE:

         ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT cannot truthfully admit or deny

 Request for Admission 16, as it is not currently aware of the identity of the caller or the purpose

 ofthe calls, but ICOT admits that the calls with Plaintiff on June 30, 2017 and May 30, 2018 were

 transferred to ICOT through Prospects DM Inc. in an attempt to obtain a customer or potential

 customer for ICOT.

 REQUEST FOR ADMISSION 17

        Any Promotional Telephone Calls that were placed to any Additional Telephone Numbers
 were placed in order to obtain a customer or potential customer of the Responding Party.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional
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 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those tenns are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 tennis not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT cannot truthfully admit or deny Request for Admission 17, as it is not currently

 aware of the identity of the caller or the purpose of the calls, but ICOT admits that some calls were

 transferred to ICOT through Prospects DM Inc. in an attempt to obtain a customer or potential

 customer for ICOT.

 REQUEST FOR ADMISSION 18

        A Promotional Telephone Call was placed to Bank as a result of a written agreement with
 a Lead Generator.

 RESPONSE:

        ICOT objects to the use of the term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving this objection, ICOT denies Request for Admission 18.

 REQUEST FOR ADMISSION 19

         Promotional Telephone Calls were placed to Additional Telephone Numbers as a result of
 a written agreement with a Lead Generator.
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 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Numbers” as that

 term is not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT denies Request for Admission 19.

 REQUEST FOR ADMISSION 20

       A Promotional Telephone Call was placed to Bank as a result of one or more written
 agreements with two Lead Generators.

 RESPONSE:

        ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT denies Request for Admission

 20.
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 REQUEST FOR ADMISSION 21

        Promotional Telephone Calls were placed to Additional Telephone Numbers as a result of
 one or more written agreements with two Lead Generators.

 RESPONSE:

         ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the use of the term “Additional Telephone Ntunbers” as that

 tennis not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT denies Request for Admission 21.

 REQUEST FOR ADMISSION 22

        Any Bank Promotional Calls were placed in accordance with an agreement or contract.

 RESPONSE:

        ICOT objects to the use ofthe term “Bank Promotional Telephone Call” as that term is not

 deﬁned and is otherwise vague and ambiguous. ICOT objects to the use of the term “Promotional

 Telephone Call,” as its deﬁnition is vague and ambiguous, because it includes telephone calls made

 by unknown parties." ICOT states that it is not aware of any telephone calls to Plaintiff that meet

 Plaintiffs deﬁnition of “Promotional Telephone Call,” because ICOT is unaware of the identity

 of the caller that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT

 does not know what the “intention” of the caller was, nor does it know the “purpose” of the calls
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 made as those terms are deﬁned by Plaintiff Subject to and without waiving these objections,

 ICOT denies Request for Admission 22.

 REQUEST FOR ADMISSION 23

         Any Additional Promotional Calls were placed in accordance with an agreement or
 contract.

 RESPONSE:

        ICOT objects to the use of the term “Additional Promotional Calls” as that term is not

 deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these objections,

 ICOT denies Request for Admission 23.

 REQUEST FOR ADMISSION 24

        On August 28, 2018, Sandra Toomer called Bank’s Telephone Number.

 RESPONSE:

        Admitted.
                                           FREEMAN MATHIS & GARY, LLP
                                                               L/‘-3
                                              ‘Z1’.        ,    /"7
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                                           mstephenson@ﬁnglaw.com

                                           Attorneys for Defendants ICOT Hearing
                                           Systems, LLC and ICOT Holdings, LLC
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day I electronically served the within and foregoing Defendant

 ICOT Hearing Systems, LLC’s Responses and Objections to Plainﬁff’s Amended First Set of

 Requests for Admission via electronic mail to the following counsel of record:

                                      Todd C. Bank
                                      Todd C. Bank Attorney at Law, P.C.
                                      l l9-40 Union Tumpike
                                      Fourth Floor
                                      Kew Gardens, New York 11415
                 ]"L
        This Z Z day of October, 2018.

                                              FREEMAN MATHIS & GARY, LLP

                                                at       F-Z    I   ’_      M.


                                              Matthew N. Foree
                                              Georgia Bar No. 268702
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                           EXHIBIT “E”

           ICOT Hearing’s Responses and Objections to
          Plaintiff’s Amended First Set of Interrogatories

                             October 12, 2018
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NEW YORK

   TODD C. BANK, Individually and on
   Behalf of All Others Similarly Situated,

                                           Plaintiff,
                                                                                                CIVIL ACTION FILE
    0

                                                                                                NO. 1:18-cv-02554-AMD-PK
  ICOT HOLDINGS, LLC and ICOT
  HEARING SYSTEMS, LLC,                                    ‘

                                       Defendants.         4J\\l\,_41\_\L\,l
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  ICOT HEARING SYSTEMS, LLC,                              I
                                                          4

                             Third-Party Plaintiff, I
  v.                                                I

  PROSPECTS DM,

                           Third-Party Defendant.
                                                \       \1C1JCJe4¢:_wa —@-1




        DEFENDANTS ICOT HEARING SYSTEMS, LLC’S RESPONSES AND OBJECTIONS
             IO,PLAINT]FF’S AMENDED FIRST SET OF INTERROGATORIES

                                           INTRODUCTION

             Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant ICOT Hearing Systems,

 LLC. (“ICOT”) serves these Responses and Objections to Plaintiffs Amended First Set of

 Interrogatories.


                                      GENERAL OBJECTIONS

             A.     ICOT objects to each request to the extent that it seeks discovery regarding

 information that is not relevant to the subject matter of the claim or defense of any party or not

 proportionate to the needs of the case.



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              B.   ICOT objects to each request to the extent that it is overly broad as to time and/or

 in scope.

              C.   ICOT objects to each request to the extent that it is vague and ambiguous.

              D.   ICOT objects to each and every one of the requests on the basis that it seeks to

 impose any duties or requirements upon it beyond those required by the Federal Rules of Civil

 Procedure.

              E.   ICOT objects to the deﬁnitions and instructions sections ofthe requests to the extent

 that they are vague and ambiguous or seek information beyond that required by the Federal Rules

 of Civil Procedure.

              F.   ICOT objects to each request to the extent that it is unduly burdensome or designed

 to be harassing.

              G.   ICOT objects to each request to the extent that it seeks discovery regarding

 information that is neither in the possession nor the control of Defendant, and/or is already in the

 possession of Plaintiff.

              H.   ICOT objects to each request to the extent that it seeks to compel Defendants to

 produce a document that does not already exist.

              I.   ICOT objects to each request to the extent that it calls for a legal conclusion.

              J.   ICOT objects to each request to the extent that it seeks discovery regarding

 information that is protected ﬁom discovery by the attorney-client privilege or the work~product

 doctrine or which constitutes or discloses the mental impressions, conclusions, opinions or legal

 theories of an attorney in this or any other litigation, or which is protected from disclosure by any

 other privilege or immunity.




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             K.     These responses, while based on diligent exploration by ICOT reﬂect only the

 current state of its knowledge, understanding, and belief with respect to the matters addressed

 herein. These responses are neither intended as, nor shall they in any way be deemed, admissions

 or representations that further information or documents do not exist. Without in any way

 obligating itself to do so, ICOT reserves the right to modify or supplement its responses with such

 pertinent information as may be subsequently discovered. Furthermore, these responses are given

 without prejudice to ICOT’s right to use or rely on at any time, including trial, subsequently

 discovered information or documents, or infonnation or documents omitted from these answers as

 a result of, among other things, mistake, error, oversight, or inadvertence.

             L.     The information supplied in these responses is not based solely on the knowledge

 of ICOT, but includes knowledge of ICOT, its agents, representatives, and attomeys, unless

 privileged.

             M.     The word usage and sentence structure may be that of the attorneys assisting in the

 preparation ofthe responses, and does not purport to be the precise language ofthe executing party.

             N.     ICOT reserves the right to supplement these responses pursuant to the Federal

 Rules of Civil Procedure.

             These General Objections, and each objection herein, apply to each and every response as

 set forth below and those responses are subject to and in conjunction with these General

 Objections.




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                              SREQIFIC OBJECTIONS AND ANSWERS
                                         INTERROGATORIES

 INTERROGATORY 1.

          State whether any Promotional Telephone Calls were placed to Bank’s Telephone Number;
 and, if so, the number of such calls and the dates and/or times of each such Promotional Telephone
 Call.

 RESPONSE:

             ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on Jtme 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT retained Prospects DM Inc.

 (“Prospects DM”) to conduct certain marketing procedures for ICOT. Prospects DM assured

 ICOT that it only calls based on TCPA compliant opt-in data where the consumer has provided

 consent to call. ICOT understands that two calls were transferred through Prospects DM to ICOT

 on June 30, 2017 and May 30, 2018 after Plaintiff expressed an interest in obtaining hearing aids.

 During the June 30, 2017 call, Plaintiff identiﬁed himself as Joseph Came and again expressed an

 interest in obtaining hearing aids. Similarly, during the May 30, 2018 call, Plaintiff identiﬁed

 himself as Joseph Klarne and again expressed an interest in obtaining hearing aids.

 INTERROGATORY 2.

        State whether any Promotional Telephone Calls were placed to any Additional Telephone
 Numbers; and, if so, the number of such calls and the dates and/or times of each such Promotional
 Telephone Call.




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 RESPONSE:

             ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff.     Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT and that Prospects DM represented to ICOT that

 it only calls based on TCPA compliant opt-in data where the consumer has provided consent to

 call. ICOT understands that two calls were transferred through Prospects DM to ICOT on June

 30, 2017 and May 30, 2018 after Plaintiff expressed an interest in obtaining hearing aids. During

 the June 30, 2017 call, Plaintiff identiﬁed himself as Joseph Came and again expressed an interest

 in obtaining hearing aids. Similarly, during the May 30, 2018 call, Plaintiff identiﬁed himself as

 Joseph Klarne and again expressed an interest in obtaining hearing aids.

 INTERROGATORY 3.

        Identify any evidence of consent to place any Promotional Telephone Calls to Bank’s
 Telephone Number.

 RESPONSE:

             ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiff's deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”



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 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT and that Prospects DM represented to ICOT that

 it only calls based on TCPA compliant opt-in data where the consumer has provided consent to

 call. Additionally, Plaintiff expressed an interest in obtaining hearing aids during the calls at issue.

 INTERROGATORY 4.

        Identify any evidence of consent to place any Promotional Telephone Calls to any
 Additional Telephone Numbers.

 RESPONSE:

             ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the tenn “Additional Telephone Numbers,” as this term is not

 deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these objections,

 ICOT retained Prospects DM to conduct certain marketing procedures for ICOT and that Prospects

 DM represented to ICOT that it only calls based on TCPA compliant opt-in data where the

 consumer has provided consent to call. ICOT further identiﬁes the consent data provided by

 Prospects DM in the Philip Charvat v. ICOT Hearing Systems, LLC, d/b/a LisrenClear, ICOT

 Holdings, LLC, Waverly Consulting Group, Inc., and Allan Per/low matter in the U.S. District

 Court for the Southern District of Georgia, Case No. CV4l7-245 (the “Charvat matter”).




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 INTERROGATORY 5.
              Identify any person who placed any Promotional Telephone Calls to Bank’s Telephone Number.

 RESPONSE:

              ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. ICOT further objects to the term “Additional Telephone Numbers,” as this term is not

 deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these objections,

 ICOT retained Prospects DM to conduct certain marketing procedures for ICOT and that Prospects

 DM represented to ICOT that it only calls based on TCPA compliant opt-in data where the

 consumer has provided consent to call. ICOT understands that two calls were transferred through

 Prospects DM to ICOT on June 30, 2017 and May 30, 2018 after Plaintiff expressed an interest in

 obtaining hearing aids. During the June 30, 2017 call, Plaintiff identiﬁed himself as Joseph Came

 and again expressed an interest in obtaining hearing aids. Similarly, during the May 30, 2018 call,

 Plaintiff identiﬁed himself as Joseph Klarne and again expressed an interest in obtaining hearing

 aids.

 INTERROGATORY 6.

        Identify any person who placed any Promotional Telephone Calls to any Additional
 Telephone Numbers.




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 RESPONSE:

             ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those tenns are deﬁned by

 Plaintiff. ICOT further objects to the term “Additional Telephone Numbers,” as this term is not

 deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these objections,

 ICOT retained Prospects DM to conduct certain marketing procedures for ICOT and that Prospects

 DM represented to ICOT that it only calls based on TCPA compliant opt-in data where the

 consumer has provided consent to call. Based on information and belief, ICOT understands that

 Prospects DM made telephone calls. Additionally, in the Charvat matter, ICOT leamed that

 Prospects DM contracted with Waverly Consulting Group, Inc. to make certain calls.

 INTERROGATORY 7

        Quote, or, if unable to quote, describe, the script of each Promotional Telephone Call that
 was placed.

 RESPONSE:

             ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by



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 Plaintiff. Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT and that Prospects DM represented to ICOT that

 it only calls based on TCPA compliant opt-in data where the consumer has provided consent to

 call. ICOT further states that Prospects DM would have the script for any calls it made.

 INTERROGATORY 8

         State what would occur as a result of each requested keypad or voice response that might
 occur following the answering of each Promotional Telephone Call that was placed.

 RESPONSE:

             ICOT objects to the use ofthe tenn “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff.     Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT and that Prospects DM represented to ICOT that

 it only calls based on TCPA compliant opt-in data where the consumer has provided consent to

 call. This information, if it exists, would be in the possession of Prospects DM.

 INTERROGATORY 9

         State the manner by, and any source from which, Bank’s Telephone Number was obtained
 so as to enable the placing of any Promotional Telephone Calls to such number.

 RESPONSE:

             ICOT objects to the use of the term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it




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 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on J1me 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff.      Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT and that Prospects DM represented to ICOT that

 it only calls based on TCPA compliant opt-in data where the consumer has provided consent to

 call. ICOT states that, at this time, it is unaware of the manner or source from which Plaintiffs

 telephone number was obtained.

 INTERROGATORY 10

        State whether Bank had maintained a relationship with the Responding Party on or prior
 to May 31, 2018.

 RESPONSE:

             ICOT objects to the use of the tenn “relationship” as such term is not deﬁned and is

 otherwise vague and ambiguous. Subject to and without waiving this objection, ICOT states that,

 prior to May 31, 2018, Plaintiffhad maintained a relationship with ICOT by expressing an interest

 in ICOT’s hearing aids.

 INTERROGATORY 11

             State the purpose for which any Promotional Telephone Call was placed.

 RESPONSE:

             ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Cal1,” because ICOT is unaware of the identity of the caller that made the calls to



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 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT’s hearing aids and that Prospects DM represented

 to ICOT that it only calls based on TCPA compliant opt~in data where the consumer has provided

 consent to call.

 INTERROGATORY 12

              Describe any relationship between the Responding Party and a Lead Generator.

 RESPONSE:

              ICOT objects to the deﬁnition of “Lead Generator,” as such deﬁnition is vague and

 ambiguous. The tenn “Lead Generator” incorporates the term “Promotional Telephone Call,”

 which has a deﬁnition that is vague and ambiguous, because it includes telephone calls made by

 unknown parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet

 Plaintiffs deﬁnition of “Promotional Telephone Call,” because ICOT is unaware of the identity

 of the caller that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT

 does not know what the “intention” of the caller was, nor does it know the “purpose” of the calls

 made as those terms are deﬁned by Plaintiff. ICOT further objects to the use of the term

 “relationship” as such term is not deﬁned and is otherwise vague and ambiguous. Subject to and

 without waiving these objections, ICOT retained Prospects DM to conduct certain marketing

 procedures for ICOT and that Prospects DM represented to ICOT that it only calls based on TCPA

 compliant opt-in data where the consumer has provided consent to call.

 INTERROGATORY 13

          Identify, and describe the substance of, any agreement or contract that relates, in part or
 in full, to Telemarketing.



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 RESPONSE:

             ICOT objects to Interrogatory No. 13 on the basis that it is overly broad and unduly

 burdensome in that it seeks to have ICOT identify any agreement conceming “Telemarketing,”

 regardless ofwhether that entity was involved in any call to Plaintiff. ICOT further objects to the

 deﬁnition of “Telemarketing,” which incorporates the term “Promotional Telephone Call,” which

 has a deﬁnition that is vague and ambiguous, because it includes telephone calls made by unknown

 parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet Plaintiffs

 deﬁnition of “Promotional Telephone Call,” because ICOT is unaware of the identity of the caller

 that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know

 what the “intention” of the caller was, nor does it know the “purpose” of the calls made as those

 tenns are deﬁned by Plaintiff. ICOT further objects to the use of the term “relationship” as such

 tennis not deﬁned and is otherwise vague and ambiguous. Subject to and without waiving these

 objections, ICOT retained Prospects DM to conduct certain marketing procedures for ICOT and

 that Prospects DM represented to ICOT that it only calls based on TCPA compliant opt-in data

 where the consumer has provided consent to call. ICOT has been unable to locate a written

 agreement with Prospects DM. However, when ICOT started working with Prospects DM, ICOT

 had an agreement with another vendor, Performance Media Strategies, which subcontracted with

 Prospects DM. Pursuant to Rule 33 (d), ICOT will produce the agreement with Performance Media

 Strategies and relevant communications upon the parties’ agreement to search terms and

 custodians, from which the answer to this interrogatory can be obtained.

 INTERROGATORY 14

       Identify, and describe the substance of any record of any invoices relating to
 Telemarketing.




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 RESPONSE:

              ICOT objects to Interrogatory No. 14 on the basis that it is overly broad and unduly

 burdensome in that it seeks to have ICOT identify and “describe the substance of any record of

 any invoices relating to Telemarketing,” regardless of whether that record relates to any call to

 Plaintiff or the subject matter of this case. ICOT also objects to the extent that it seeks information

 that is not relevant to any claim or defense in this matter and is not proportional to the needs of the

 case. ICOT further objects to the deﬁnition of “Telemarketing,” as such deﬁnition is vague and

 ambiguous, including because it incorporates the term “Promotional Telephone Call,” which has

 a deﬁnition that is vague and ambiguous, because it includes telephone calls made by unknown

 parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet Plaintiffs

 deﬁnition of “Promotional Telephone Ca1l,” because ICOT is unaware ofthe identity of the caller

 that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know

 what the “intention” of the caller was, nor does it know the “purpose” of the calls made as those

 terms are deﬁned by Plaintiff. Subject to and without waiving these objections, ICOT retained

 Prospects DM to conduct certain marketing procedures for ICOT and that Prospects DM

 represented to ICOT that it only calls based on TCPA compliant opt-in data where the consumer

 has provided consent to call. ICOT states that, pursuant to Rule 33(d), ICOT will produce a

 summary of payments made to Prospects DM from which the answer to this interrogatory can be

 obtained.

 INTERROGATORY 15

       Identify, and describe the substance of any communications, agreements, or contracts
 between the Responding Party and a Lead Generator.




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 RESPONSE:

            ICOT objects to Interrogatory No. 15 on the basis that it is overly broad and unduly

 burdensome in that it seeks to have ICOT identify and “describe the substance of any

 communications, agreements, or contracts between the Responding Party and a Lead Generator,

 regardless of whether they relate to the subject matter of this case. ICOT further objects to the

 deﬁnition of “Lead Generator,” as such deﬁnition is vague and ambiguous, including because it

 incorporates the term “Promotional Telephone Call,” which has a deﬁnition that is vague and

 ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it is

 not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT and that Prospects DM represented to ICOT that

 it only calls based on TCPA compliant opt-in data where the consumer has provided consent to

 call. ICOT states that it has been unable to locate a written agreement with Prospects DM.

 However, when ICOT started working with Prospects DM, ICOT had an agreement with another

 vendor, Performance Media Strategies, which subcontracted with Prospects DM. Pursuant to Rule

 33(d), ICOT will produce the agreement with Perfonnance Media Strategies and relevant

 communications upon the parties’ agreement to search tenns and custodians, from which the

 answer to this interrogatory can be obtained.

 INTERROGATORY 16

            Identify, and describe the substance of any record ofpayments to any Lead Generator.




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 RESPONSE:

             ICOT objects to Interrogatory No. 16 on the basis that it is overly broad and unduly

 burdensome in that it seeks to have ICOT identify and “describe the substance of any record of

 payments to any Lead Generator,” regardless ofwhether it relates to the subject matter ofthis case.

 ICOT also objects to the extent that it seeks information that is not relevant to any claim or defense

 in this matter and is not proportional to the needs ofthe case. ICOT further objects to the deﬁnition

 of “Lead Generator,” as such deﬁnition is vague and ambiguous, including because it incorporates

 the tenn “Promotional Telephone Call,” which has a deﬁnition that is vague and ambiguous,

 because it includes telephone calls made by unknown parties. ICOT states that it is not aware of

 any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional Telephone Call,”

 because ICOT is unaware of the identity of the caller that made the calls to Plaintiff on June 30,

 2017 and May 30, 2018. As such, ICOT does not know what the “intention” of the caller was, nor

 does it know the “purpose” of the calls made as those terms are deﬁned by Plaintiff. Subject to

 and without waiving these objections, ICOT retained Prospects DM to conduct certain marketing

 procedures for ICOT and that Prospects DM represented to ICOT that it only calls based on TCPA

 compliant opt-in data where the consumer has provided consent to call. ICOT states that, pursuant

 to Rule 33(d), ICOT will produce a summary of payments made to Prospects DM from which the

 answer to this interrogatory can be obtained.

 INTERROGATORY 17

         Identify any persons that any Lead Generator transferred, or referred to the Responding
 Party, as an actual or potential customer of the Responding Party.

 RESPONSE:

             ICOT objects to Interrogatory No. 17 on the basis that it is overly broad and unduly

 burdensome in that it seeks to have ICOT identify and “describe the substance of any record of



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  payments to any Lead Generator,” regardless ofwhether it relates to the subject matter ofthis case,

  including calls transferred by Prospects DM. ICOT further objects to the deﬁnition of “Lead

  Generator,” as such deﬁnition is vague and ambiguous, including because it incorporates the term

  “Promotional Telephone Call,” which has a deﬁnition that is vague and ambiguous, because it

 includes telephone calls made by unknown parties. ICOT states that it is not aware of any

 telephone calls to Plaintiff that meet Plaintiffs definition of “Promotional Telephone Call,”

 because ICOT is unaware of the identity of the caller that made the calls to Plaintiff on June 30,

 2017 and May 30, 2018. As such, ICOT does not know what the “intention” ofthe caller was, nor

 does it know the “purpose” of the calls made as those tenns are deﬁned by Plaintiff. Subject to

 and without waiving these objections, ICOT retained Prospects DM to conduct certain marketing

 procedures for ICOT and that Prospects DM represented to ICOT that it only calls based on TCPA

 compliant opt-in data where the consumer has provided consent to call. ICOT states that, pursuant

 to Rule 33(d), ICOT will produce a spreadsheet containing transfers from Prospects DM from

 which the answer to this interrogatory can be obtained.

 INTERROGATORY 1,8

        State the type ofgoods and/or services ofthe Responding Party that Promotional Telephone
 Calls were seeking to promote, advertise, sell, or provide.

 RESPONSE:

              ICOT objects to the use ofthe term “Promotional Telephone Call,” as its deﬁnition is vague

 and ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it

 is not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those terms are deﬁned by



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 Plaintiff. Subject to and without waiving these objections, ICOT retained Prospects DM to

 conduct certain marketing procedures for ICOT regarding its hearing aids and that Prospects DM

 represented to ICOT that it only calls based on TCPA compliant opt-in data where the consumer

 has provided consent to call.

 INTERROGATORY 19

        Identify, and describe the substance of any statement that was taken from any person
 concerning the allegations set forth in the Complaint, whether such statement was taken by the
 Responding Party or any other person.

 RESPONSE:

             ICOT objects to the use of the term “statement” to the extent that it seeks infonnation that

 is protected by the attomey-client privilege, the work-product doctrine, or any other available

 privilege. Subject to and without waiving this objection, pursuant to Rule 33(d), it will make

 available an afﬁdavit submitted by Prospects DM in the Charvat matter from which the answer to

 this interrogatory can be obtained.

 INTERROGATORY 20

         Identify, and describe the substance of any investigation conceming the allegations set
 forth in the Complaint, whether such investigation was made by the Responding Party or any other
 person.

 RESPONSE:

             ICOT objects to Interrogatory No. 20 on the basis that it seeks infonnation that is protected

 by the attomey-client privilege, the work-product doctrine, or any other available privilege.

 Subject to and without waiving this objection, ICOT states that it investigated the calls alleged in

 the Complaint.




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 INTERROGATORY 21

        Identify, and describe the substance of any statement that was taken ﬁom any person
 concerning the allegations set forth in any Promotional Telephone Call Action, whether such
 statement was taken by the Responding Party or any other person.

 RESPONSE:

             ICOT objects to the use of the term “Promotional Telephone Call Action,” which is vague

 and, including because it incorporates the tenn “Promotional Telephone Call,” which has a

 deﬁnition that is vague and ambiguous, because it includes telephone calls made by unknown

 parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet Plaintiffs

 deﬁnition of “Promotional Telephone Call,” because ICOT is unaware of the identity of the caller

 that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know

 what the “intention” of the caller was, nor does it know the “purpose” of the calls made as those

 terms are deﬁned by Plaintiff. ICOT further objects to the use of the tenn “statement” to the extent

 that it seeks information that is protected by the attomey-client privilege, the work-product

 doctrine, or any other available privilege. Subject to and without waiving these objections, ICOT

 retained Prospects DM to conduct certain marketing procedures for ICOT and that Prospects DM

 represented to ICOT that it only calls based on TCPA compliant opt-in data where the consumer

 has provided consent to call. Pursuant to Rule 33(d), ICOT will make available an afﬁdavit

 submitted by Prospects DM in the Charvar matter, from which the answer to this interrogatory can

 be obtained.

 INTERROGATORY 22

         Identify, and describe the substance of any investigation conceming the allegations set
 forth in any Promotional Telephone Call Action, whether such investigation was made by the
 Responding Party or any other person.




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 RESPONSE:

             ICOT objects to the use of the term “Promotional Telephone Call Action,” which is vague

 and ambiguous, including because it incorporates the tenn “Promotional Telephone Call,” which

 has a deﬁnition that is vague and ambiguous, because it includes telephone calls made by unknown

 parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet Plaintiffs

 deﬁnition of “Promotional Telephone Call,” because ICOT is unaware of the identity of the caller

 that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know

 what the “intention” of the caller was, nor does it know the “purpose” of the calls made as those

 terms are deﬁned by Plaintiff. ICOT further objects to the use of the term “statement” to the extent

 that it seeks information that is protected by the attomey-client privilege, the work-product

 doctrine, or any other available privilege. ICOT further objects to Interrogatory No. 22 on the

 basis that it seeks information that is protected by the attomey-client privilege, the work~product

 doctrine, or any other available privilege. Subject to and without waiving these objections, ICOT

 retained Prospects DM to conduct certain marketing procedures for ICOT and that Prospects DM

 represented to ICOT that it only calls based on TCPA compliant opt-in data where the consumer

 has provided consent to call. ICOT states that it investigated the calls alleged in the Complaint.

 ICOT states that it will supplement this response if it obtains additional information.

 INTERROGATORY 23

       Identify, and describe the substance of any documents exchanged in discovery in any
 Promotional Telephone Call Action.

 RESPONSE:

             ICOT objects to the use of the tenn “Promotional Telephone Call Action,” which is vague

 and, including because it incorporates the term “Promotional Telephone Call,” which has a

 deﬁnition that is vague and ambiguous, because it includes telephone calls made by unknown



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 parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet Plaintiffs

 deﬁnition of “Promotional Telephone Call,” because ICOT is unaware of the identity of the caller

 that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know

 what the “intention” of the caller was, nor does it know the “purpose” of the calls made as those

 tenns are deﬁned by Plaintiff. ICOT also objects to the extent that it seeks information that is not

 relevant to any claim or defense in this matter and is not proportional to the needs of the case.

 Subject to and without waiving these objections, pursuant to Rule 33(d), ICOT will produce certain

 documents exchanged in the Charvat matter that are relevant to this case from which the answer

 to this interrogatory can be obtained.

 INTERROGATORY 24

        Identify, and describe the substance of any transcripts of a deposition in any Promotional
 Telephone Call Action.

 RESPONSE:

             ICOT objects to the use of the tenn “Promotional Telephone Call Action,” which is vague

 and, including because it incorporates the term “Promotional Telephone Call,” which has a

 deﬁnition that is vague and ambiguous, because it includes telephone calls made by unknown

 parties. ICOT states that it is not aware of any telephone calls to Plaintiff that meet Plaintiffs

 deﬁnition of “Promotional Telephone Call,” because ICOT is unaware ofthe identity of the caller

 that made the calls to Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know

 what the “intention” of the caller was, nor does it know the “purpose” of the calls made as those

 terms are deﬁned by Plaintiff. ICOT also objects to the extent that it seeks information that is not

 relevant to any claim or defense in this matter and is not proportional to the needs of the case.

 Subject to and without waiving these objections, ICOT states that there are no such deposition

 transcripts.



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 INTERROGATORY 25
        Identify each individual who, while acting in the capacity of an employee or other type ofhiree
 ofthe Responding Party, communicated, or other dealt, with any Lead Generator.

 RESPONSE:

              ICOT objects to Interrogatory No. 15 on the basis that it is overly broad and unduly

 burdensome in that it seeks to have ICOT identify and “describe the substance of any

 communications, agreements, or contracts between the Responding Party and a Lead Generator,

 regardless of whether they relate to the subject matter of this case. ICOT further objects to the

 deﬁnition of “Lead Generator,” as such deﬁnition is vague and ambiguous, including because it

 incorporates the term “Promotional Telephone Call,” which has a deﬁnition that is vague and

 ambiguous, because it includes telephone calls made by unknown parties. ICOT states that it is

 not aware of any telephone calls to Plaintiff that meet Plaintiffs deﬁnition of “Promotional

 Telephone Call,” because ICOT is unaware of the identity of the caller that made the calls to

 Plaintiff on June 30, 2017 and May 30, 2018. As such, ICOT does not know what the “intention”

 of the caller was, nor does it know the “purpose” of the calls made as those tenns are deﬁned by

 Plaintiff. Subject to and without waiving these objections, ICOT identiﬁes its former Marketing

 Director, Blair Jesswein, who was the primary point of contact with Prospects DM.

 INTERROGATQBY 26

         Identify, and describe the substance of any documents, that pertain to any
 communications with any person regarding the allegations set forth in the Complaint, including
 for each such communication, documents that evidence:

                    a.     the name and position of the person(s) with whom communication occurred;

                    b.     the date on which communications with such person(s) occurred;

                    c.     the substance of the communications with such person(s);




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                    d.      the names and positions of the participants in all such communications; and

                    e.      whether there is a written report of the same.

  RESPONSE:

             ICOT objects to Interrogatory No. 26 on the basis that it seeks information that is protected

 by the attomey-client privilege, the work-product doctrine, or any other available privilege.

  Subject to and without waiving this objection, ICOT states that, pursuant to Rule 33(d), it will

 make available certain communications after the parties agree on relevant search tenns and

 custodians.

                                                   FREEMAN MATHIS             GARY, LLP

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                                                   mstephenson@ﬁnglaw.com

                                                   Attorneysfor Defendants ICOT Hearing
                                                   Systems, LLC and ICOT Holdings, LLC




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this day I electronically served the within and foregoing Defendant

 ICOT Hearing Systems, LLC’s Responses and Objections to Plaintiff’s Amended First Set of

 Interrogatories via electronic mail to the following counsel of record:

                                       Todd C. Bank
                                       Todd C. Bank Attomey at Law, P.C.
                                       119-40 Union Turnpike
                                       Fourth Floor
                                       Kew Gardens, New York 11415

        This Z Z day of October, 2018.

                                               FREEMAN MATHIS & GARY, LLP

                                                Eu» -‘Z-       RTE
                                                                            ‘i
                                               Matthew N.F ee
                                               Georgia Bar No. 268702
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                            EXHIBIT “F”

                    Subpoena for Documents upon
                         Prospects DM, Inc.

                            November 20, 2020
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AU 888 (Rev. 02-’|4} Subpoena to Produce Doetiinents. Infonnation. or Objects or to Permit Inspection of Premises in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                                         for the

        TODD C. BANK, Individually and on
        Behalf of All Others Similarly Situated
                                Pl'aim'.f'{,?'
                                    v.                                                                              Civil Action No. 1:18-cv-02554-AMD-PK
            ICOT HOLDINGS, LLC, and
            ICOT HEARING SYSTEMS, LLC
                              Dtjfeirdtzirt                                                   *-/ _w\-_d\-_/ r\-1



                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
     Prospects DM, LLC
 To: 603 Seagaze Dr. # 817
     Oceanside CA 92054
                                                                (Norm: rgfpeiwoir to whom this snbpowm is di:'et'!ed)

      E Production.‘ YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling ofthe
material: See Exhibit “A”



 Place: 119-40 Union Turnpike, Fourth Floor                                                                         gale and Time:
        Kew Gardens, New York 1 1415                                                                                 ecember 14, 2020, at 10:00 a.m.

        El Inspection 0fPremt'ses: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                                            Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:      November 30, 2020
                                     CLERK OF COURT
                                                                                                                      OR
                                  s/ Ryan O'Neil-Berven (Deputy Clerk)
                                                 Sij,W£IIIﬂ't’ rif'('t'w-it or IJepu.{t' (".~’w'k                                      A t.Im'i1t{1' iv .w'gm:.'m'e

The name, address, e-mail address, and telephone number of the attorney representing (J'tct1'ttt'Qf,!)tt.*‘|“_'.') Tﬁdd C- Bank
                                                                        , who issues or requests this subpoena, are:
Todd C. Bank, 119-40 Union Tpke, 4th FL, Kew Gardens, NY 11415; (718) 520-T125; tbank@toddbanklaw.c0m
                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy ofthe subpoena must be served on each party in this ease before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45{a)(4).
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A0 88B (Rev. 02:’ I4) Subpoena to Produce Documents. lnfomtation. or Objects or to Pennit Inspection of Premises in a Civil Action( Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective l2tltl3)
(e) Place of Compliance.                                                                (ii) disclosing an unrctaincd expert's opinion or information that docs
                                                                                   not describe speciﬁc occurrences in dispute and results from the expct1‘s
 (1) For o Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
person to attend a trial. hearing. or deposition only as follows:                     (C) 5prci,ﬁ'ing Conditions as an Aitcrmrtirc. In the circumstances
  (A) within I00 miles of where the person resides. is employed. or                described in Rule 45(d)(3)(B]. the court may. instead ofquashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
  (B) within the state where the person resides. is employed, or regularly         conditions ifthe serving party:
transects business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party's officer; or                                       othcnvise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial                (ll) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production ofdocumcnts. electronically stored information, or                 (1) Producing Documents or Electronically Stored Information. These
tangible things at a placc within I00 milcs ofwhcrc the person resides, is         procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person: and                           information:
  (B) inspection of premises at the premises to be inspected.                         (A) Docnnrents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Forrnjor Pr'0u'u('ing Elct'tt'onic'oi{t' Stored injorrrrotiort Not Spctitied.
 (1) Avoiding Undue Burden or Expense: Sanctions. A party or attorney              lfa subpoena docs not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information. the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable fonn or f0I'It"|S.
subpoena. The court for the district where compliance is required must               (C) Elt'r'tr0nit'ailt' Stored inforrnntion Produced in On-ft’ Ont’ Form. The
enforce this duty and impose an appropriate sanction      which may include        person responding need not produce the same electronically stored
lost camings and reasonable attomey's fccs—on a party or attomcy who               infonnation in more than one fonn.
fails to comply.                                                                     (D) inaccessible Eier'tr0nicai{t' Stored information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit inspection.                            from sources that the person identiﬁes as not reasonably accessible because
  (A) Appeal-once Not Rt'qtrir'eJ A person commanded to produce                    of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored infonnation. or tangible things, or to            order. the person responding must show that the information is not
pemtit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. lfthat showing is
production or inspection unless also commanded to appear for a deposition.         made, the court may nonetheless order discovery from such sources if the
hearing. or trial.                                                                 requesting party shows good cause. considering the limitations of Rulc
  (B) Objections. A person commanded to produce documents or tangible              26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attomey designated
in the subpoena a written objection to inspecting. copying. testing. or            (2) Claiming Privilege or Protection.
sampling any or all ofthc materials or to inspecting the premises—or to             (A) lnﬁu'tttatiott I-Vithncid. A person withholding subpoenaed information
producing electronically stored information in the form or forrns requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must bc served before the earlier of the time speciﬁed for           material must:
compliance or I4 days after the subpoena is served. lfan objection is made,            (i) expressly make the claim; and
the following mics apply:                                                             (ii) describe the nature of the withheld documents, communications. or
     (I) At any time, on notice to the commanded person. the serving party         tangible things in a manner that, without revealing infonnation itself
may move the court for the district where compliance is required for an            privileged or protected. will enablc the parties to assess the claim.
order compelling production or inspection.                                           (B) iitfoi'rrtrtti0ir Pi‘f)¢ll'i('('(l. If information produced in rcspottse to a
     (ti) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
signiﬁcant expense resulting from compliance.                                      that received the infomtation ofthe claim and the basis for it. After being
                                                                                   notiﬁed, a party must promptly rctum. sequester, or destroy the speciﬁed
 (3) Quaslting or Modifying o Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) What: Rezgtiirati. On timely motion. the court for the district where        until the claim is resolved: must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information ifthe party disclosed it before being notiﬁed; and may promptly
    (1) fails to allow a reasonable time to comply;                                present the infonnation under seal to the court for the district where
    (ii) requires a person to comply beyond the geographical limits                compliance is required for a determination of the claim. The person who
speciﬁed in Rule 45(c);                                                            produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies: or
    (iv) subjects a person to undue burden.                                        (g) Contempt.
  (B) When Perniitted. To protect a person subject to or affected by a             The court for the district where compliance is rcquircd—and also. aﬁcr a
subpoena, the court for the district where compliance is required may. on          motion is transfcncd. the issuing court—may hold in contempt a person
motion. quash or modify the subpoena ifit requires:                                who. having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other conﬁdential research.                 subpoena or an order related to it.
development. or commercial information; or



                                         For access to subpoena materials. sec Fed. R. Civ. I‘. 45(a) Committee Note (2013).
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                            EXHIBIT “A”
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                                                    INSTRUCTIONS

        a.      In the event that any document called for by a Request is withheld on the basis of a claim of privilege,

identify that document by stating its author(s), addressee(s), indicated or blind-copy recipient(s), date, subject matter,

number of pages, attachments or appendices, all persons to whom the documents was distributed, shown or

explained, present custodian, and the nature of the claimed privilege.

        b.      If any document requested was, but no longer is, in your possession or subject to your control, state:

(a) the date of its disposition; (b) the manner of its disposition (e.g., lost, destroyed, or transferred to any third party);

and (c) an explanation of the circumstances surrounding the disposition of the document.

        c.      Any Requests for documents pertaining to dates may be responded with documents showing a range

of dates if more precise dates are not available.

        d.      The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.

        e.      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as necessary

to bring within the scope of the discovery request all responses that might otherwise be construed to be outside of

its scope.

        f.      The use of the singular form of any word includes the plural and vice versa.

        g.      Unless otherwise indicated, each Request shall be answered with respect to the Relevant Period.

                                                     DEFINITIONS

        a.      “Prospects DM” means: (a) (1) Prospects DM, LLC, which is or was a California corporation whose

principal place of business is, or was, in Oceanside, California, and, (2) any predecessor or successor thereof; (b) (1)

any corporate parent, corporate subsidiary, or division of Prospects DM, and (2) predecessor or successor thereof;

and (c) any agents and subcontractors of Prospects DM acting as a result of a business relationship to which ICOT

is, or was, a party.

        b.      “ICOT” means: (a) ICOT Hearing Systems, LLC d/b/a ListenClear (“ListenClear”), and any
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predecessor or successor thereof; and (b) any corporate parent, corporate subsidiary, or division of ListenClear, or

predecessor or successor thereof.

       c.      The terms “you” and “Responding Party” means Prospects DM.

       d.      The term “any” means “each” and “all.”

       e.      The term “Relevant Period” means the period from December 31, 2017, to the present.

       f.      The term “document” means any written or graphic material, whether in a hard format such as paper

of an electronically format stored in any medium from which information can be obtained either directly or, if

necessary, after translation by the responding party into a reasonably usable form, including writings, drawings,

graphs, charts, photographs, sound recordings, images, and other data or data compilations. A draft or non-identical

copy is a separate document.

       g.      The term “indicate” means to directly or indirectly do any of the following: show, reflect, refer to,

or describe.

       h.      The term “identify,” with respect to persons, means to give, to the extent known, the person’s full

name, present or last known address, and when referring to a natural person, additionally, the present or last known

place of employment. Once a person has been identified in accordance with this subparagraph, only the name of that

person need be listed in response to subsequent discovery requesting the identification of that person.

       i.      The term “identify,” with respect to documents, means to give, to the extent known, the (i) type of

document; (ii) general subject matter; (iii) date of the document; and (iv) author(s), addressee(s) and recipient(s).

In the alternative, the responding party may produce the documents, together with identifying information sufficient

to satisfy Fed. R. Civ. P. 33(d).

       j.       The term “person” is defined as any natural person or any legal entity, including, without limitation,

any business or governmental entity or association.

       k.      The term “concerning” means relating to, referring to, describing, evidencing or constituting.
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        l.      The term “telephone” means a device that coverts sound and electrical waves into audible relays.

        m.      The term “receiving number” means a ten-digit number consisting of a three-digit Numbering Plan

Area (NPA) code, commonly called an area code, followed by a seven-digit local number.

        n.      The term “telephone call” means the transmission of any communication that is: (i) connected, directly

or indirectly, to a public switched-telephone network (PSTN), and/or a voice-over-internet-protocol (VOIP)

network, and/or any other network, and (ii) transmitted to a receiving number regardless of how the transmission

is enabled and regardless of how many, if any, of the numbers of the receiving number are utilized in the process that

enables the transmission.

        o.      The term “contract” means: (i) any agreement, including any attachments or appendices thereto.

        p.      The term “telephone” means a device that coverts sound and electrical waves into audible relays.

        q.      The term “telephone call” means the transmission of any communication that is: (i) connected, directly

or indirectly, to a public switched-telephone network (PSTN), and/or a voice-over-internet-protocol (VOIP)

network, and/or any other network, and (ii) transmitted to a receiving number regardless of how the transmission

is enabled and regardless of how many, if any, of the numbers of the receiving number are utilized in the process that

enables the transmission.

        r.      The term “telephone call” does not include a telephone call to a cellular telephone.

        s.      The term “Caller Identification” means information, whether accurate or not, that: (i) is displayed on

either a telephone or other equipment that is connected to a telephone line to which a telephone call is placed, and

(ii) pertains to the origin of the call, and typically includes (1) the telephone number of the caller’s telephone line,

and/or (2) the name that is associated with caller’s telephone line, and/or (3) the name of the city and/or state

associated with the caller’s telephone line, and/or (4) the term “cell phone.”

        t.      The term “answering system” means a physical device or electronic-storage system that can enables

a person, when making a telephone call that is not answered by a live person, to leave a message that can be heard
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thereafter.

          u.   With respect to a telephone call, the term “answer,” as both a verb and noun, refers the answering

of a telephone call by at least one of the following methods: (i) a person; (ii) an answering system; or (iii) a person

and an answering system (as occurs, for example, when a call is answered by an answering system and then also

answered by a person, or vice-versa ).

          v.   The term “Promotional Telephone Call” means a telephone call that is made by, or at the direction

of, Prospects DM and: (i) was made with the intention that, if such call is answered by one, or either, of the methods

described in Paragraph “u,” previously recorded material will be played to a person if a person answers the telephone

call, or to an answering system if an answering system answers the telephone call, or to a person or answering

machine if either one answers the telephone call; (ii) was placed pursuant to, or as a result of, a contract or business

relationship to which ICOT was a party; (iii) would result in a charge to, and/or payment from, ICOT if, either

considered alone of among other factors, the call was transferred to ICOT; and (iv) was placed during the Relevant

Period.

                                                  SCHEDULE “A”

          1.   Complete copies of any and all documents that indicate the telephone number to which any

Promotional Telephone Call was placed.

          2.   Complete copies of any and all documents that indicate the number of Promotional Telephone Calls

that were placed to any telephone number to which at least one Promotional Telephone Call was placed.

          3.   Complete copies of any and all documents that indicate the date on which any Promotional Telephone

Call was placed.

          4.   Complete copies of any and all documents that indicate the name of the person that was associated

with a telephone number to which any Promotional Telephone Call was placed.
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                           EXHIBIT “G”

                Redacted Excerpt of Document Served
                by Prospects DM, Inc., upon Plaintiff

                            December 28, 2020
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                                    CERTIFICATE OF SERVICE

           I hereby certify that a true and accurate copy of the foregoing document is being filed
  electronically on January 29, 2021, via the Court’s electronic-case-filing (ECF) system. Notice of this
  filing will be sent by the Court’s ECF system to all parties, and copies will be mailed to those parties,
  if any, that are not served in such manner.

  Dated: January 29, 2021

                                                                   s/ Todd C. Bank
                                                                  Todd C. Bank
